                 Case 21-10085-KHK                           Doc 1             Filed 01/21/21 Entered 01/21/21 15:12:54                                Desc Main
                                                                               Document Page 1 of 82
 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

                 Eastern District of Virginia

 Case number (If known):                              Chapter you are filing under:
                                                      ❑         Chapter 7
                                                      ❑         Chapter 11
                                                      ❑         Chapter 12
                                                      ✔
                                                      ❑         Chapter 13
                                                                                                                                                 ❑Check if this is an
                                                                                                                                                    amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                                04/20
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and in joint
cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if either debtor owns
a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the
spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Identify Yourself

                                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name

       Write the name that is on your              Stacy
       government-issued picture                   First name                                                       First name
       identification (for example, your
                                                   Lynn
       driver’s license or passport).
                                                   Middle name                                                      Middle name
       Bring your picture identification to        Phillips
       your meeting with the trustee.              Last name                                                        Last name


                                                   Suffix (Sr., Jr, II, III)                                         Suffix (Sr., Jr, II, III)




  2.   All other names you have used
       in the last 8 years
                                                   First name                                                       First name
       Include your married or maiden
       names.                                      Middle name                                                      Middle name


                                                   Last name                                                        Last name




                                                   First name                                                       First name


                                                   Middle name                                                      Middle name


                                                   Last name                                                        Last name




  3.   Only the last 4 digits of your
                                                   xxx - xx - 7        5       8   7                                xxx - xx -
       Social Security number or
       federal Individual Taxpayer                 OR                                                               OR
       Identification number                       9xx - xx -                                                       9xx - xx -
       (ITIN)




Official Form 101                                                   Voluntary Petition for Individuals Filing for Bankruptcy                                            page 1
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 Debtor 1            Stacy               Lynn                         Phillips                                           Case number (if known)
                     First Name          Middle Name                  Last Name


                                          About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):


  4.   Any business names and
       Employer Identification
                                          ✔I have not used any business names or EINs.
                                          ❑                                                                   ❑I have not used any business names or EINs.
       Numbers (EIN) you have used
       in the last 8 years
                                          Business name                                                       Business name
       Include trade names and doing
       business as names
                                          Business name                                                       Business name


                                                       -                                                                   -
                                          EIN                                                                 EIN


                                                       -                                                                   -
                                          EIN                                                                 EIN




                                                                                                              If Debtor 2 lives at a different address:
  5.   Where you live
                                          5267 Quebec Place
                                          Number             Street                                           Number            Street




                                          Woodbridge, VA 22193
                                          City                                     State     ZIP Code         City                                     State     ZIP Code

                                          Prince William
                                          County                                                              County

                                          If your mailing address is different from the one above, fill If Debtor 2's mailing address is different from yours, fill it
                                          it in here. Note that the court will send any notices to you at in here. Note that the court will send any notices to you at this
                                          this mailing address.                                           mailing address.


                                          Number             Street                                           Number            Street



                                          P.O. Box                                                            P.O. Box



                                          City                                     State     ZIP Code         City                                     State     ZIP Code




  6.   Why you are choosing this          Check one:                                                          Check one:
       district to file for bankruptcy
                                          ✔
                                          ❑      Over the last 180 days before filing this petition, I have   ❑      Over the last 180 days before filing this petition, I have
                                                 lived in this district longer than in any other district.           lived in this district longer than in any other district.

                                          ❑      I have another reason. Explain.                              ❑      I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                              (See 28 U.S.C. § 1408)




Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                                          page 2
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 Debtor 1           Stacy                Lynn                    Phillips                                              Case number (if known)
                    First Name           Middle Name                 Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


  7.   The chapter of the Bankruptcy     Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
       Code you are choosing to file     (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       under                             ❑      Chapter 7
                                         ❑      Chapter 11
                                         ❑      Chapter 12
                                         ✔
                                         ❑      Chapter 13



  8.   How you will pay the fee          ✔
                                         ❑   I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more details
                                             about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
                                             order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                             a pre-printed address.

                                         ❑   I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                             The Filing Fee in Installments (Official Form 103A).

                                         ❑   I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                             but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line
                                             that applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill
                                             out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.




  9.   Have you filed for bankruptcy     ✔ No.
                                         ❑
       within the last 8 years?
                                         ❑Yes.     District                                          When                          Case number
                                                                                                            MM / DD / YYYY

                                                   District                                          When                          Case number
                                                                                                            MM / DD / YYYY

                                                   District                                          When                          Case number
                                                                                                            MM / DD / YYYY




  10. Are any bankruptcy cases           ✔ No.
                                         ❑
       pending or being filed by a
       spouse who is not filing this     ❑Yes.     Debtor                                                                       Relationship to you
       case with you, or by a business
       partner, or by an affiliate?                District                                      When                           Case number, if known
                                                                                                        MM / DD / YYYY


                                                   Debtor                                                                       Relationship to you

                                                   District                                      When                           Case number, if known
                                                                                                        MM / DD / YYYY




  11. Do you rent your residence?        ✔
                                         ❑   No.    Go to line 12.

                                         ❑   Yes. Has your landlord obtained an eviction judgment against you?

                                                    ❑   No. Go to line 12.

                                                    ❑   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part
                                                        of this bankruptcy petition.




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 Debtor 1             Stacy                   Lynn                     Phillips                                           Case number (if known)
                      First Name              Middle Name               Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor


  12. Are you a sole proprietor of any        ✔
                                              ❑   No. Go to Part 4.
      full- or part-time business?
                                              ❑   Yes. Name and location of business
      A sole proprietorship is a business
      you operate as an individual, and is
      not a separate legal entity such as         Name of business, if any
      a corporation, partnership, or LLC.

      If you have more than one sole              Number           Street
      proprietorship, use a separate
      sheet and attach it to this petition.


                                                  City                                                       State         ZIP Code

                                                  Check the appropriate box to describe your business:

                                                  ❑      Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                  ❑      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                  ❑      Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                  ❑      Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                  ❑      None of the above



  13. Are you filing under Chapter 11         If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to proceed
      of the Bankruptcy Code, and             under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or you are
      are you a small business debtor         choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations, cash-flow
      or a debtor as defined by 11            statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      U.S. C. § 1182(1)?
                                              ✔
                                              ❑   No.        I am not filing under Chapter 11.
      For a definition of small business
      debtor, see 11 U.S.C. § 101(51D).       ❑   No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                             Bankruptcy Code.

                                              ❑   Yes.       I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy
                                                             Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                              ❑   Yes.       I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code,
                                                             and I choose to proceed under Subchapter V of Chapter 11.


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


  14. Do you own or have any                  ✔
                                              ❑   No.
      property that poses or is
      alleged to pose a threat of             ❑   Yes.     What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate
      attention?                                           If immediate attention is needed, why is it needed?

      For example, do you own
      perishable goods, or livestock that
      must be fed, or a building that
      needs urgent repairs?                                Where is the property?
                                                                                    Number          Street




                                                                                      City                                                State               ZIP Code




Official Form 101                                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 4
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 Debtor 1            Stacy                Lynn                       Phillips                                           Case number (if known)
                     First Name            Middle Name                Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you          About Debtor 1:                                                      About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you           You must check one:                                                  You must check one:
                                          ✔
      receive a briefing about credit
      counseling before you file for      ❑    I received a briefing from an approved credit counseling        ❑    I received a briefing from an approved credit counseling
      bankruptcy. You must truthfully          agency within the 180 days before I filed this bankruptcy            agency within the 180 days before I filed this bankruptcy
      check one of the following               petition, and I received a certificate of completion.                petition, and I received a certificate of completion.
      choices. If you cannot do so, you        Attach a copy of the certificate and the payment plan, if            Attach a copy of the certificate and the payment plan, if
      are not eligible to file.                any, that you developed with the agency.                             any, that you developed with the agency.

      If you file anyway, the court can   ❑    I received a briefing from an approved credit counseling        ❑    I received a briefing from an approved credit counseling
      dismiss your case, you will lose         agency within the 180 days before I filed this bankruptcy            agency within the 180 days before I filed this bankruptcy
      whatever filing fee you paid, and        petition, but I do not have a certificate of completion.             petition, but I do not have a certificate of completion.
      your creditors can begin                 Within 14 days after you file this bankruptcy petition, you          Within 14 days after you file this bankruptcy petition, you
      collection activities again.             MUST file a copy of the certificate and payment plan, if             MUST file a copy of the certificate and payment plan, if
                                               any.                                                                 any.

                                          ❑    I certify that I asked for credit counseling services from an   ❑    I certify that I asked for credit counseling services from an
                                               approved agency, but was unable to obtain those services             approved agency, but was unable to obtain those services
                                               during the 7 days after I made my request, and exigent               during the 7 days after I made my request, and exigent
                                               circumstances merit a 30-day temporary waiver of the                 circumstances merit a 30-day temporary waiver of the
                                               requirement.                                                         requirement.
                                               To ask for a 30-day temporary waiver of the requirement,             To ask for a 30-day temporary waiver of the requirement,
                                               attach a separate sheet explaining what efforts you made             attach a separate sheet explaining what efforts you made
                                               to obtain the briefing, why you were unable to obtain it             to obtain the briefing, why you were unable to obtain it
                                               before you filed for bankruptcy, and what exigent                    before you filed for bankruptcy, and what exigent
                                               circumstances required you to file this case.                        circumstances required you to file this case.

                                               Your case may be dismissed if the court is dissatisfied              Your case may be dismissed if the court is dissatisfied
                                               with your reasons for not receiving a briefing before you            with your reasons for not receiving a briefing before you
                                               filed for bankruptcy.                                                filed for bankruptcy.

                                               If the court is satisfied with your reasons, you must still          If the court is satisfied with your reasons, you must still
                                               receive a briefing within 30 days after you file.                    receive a briefing within 30 days after you file.
                                               You must file a certificate from the approved agency,                You must file a certificate from the approved agency,
                                               along with a copy of the payment plan you developed, if              along with a copy of the payment plan you developed, if
                                               any. If you do not do so, your case may be dismissed.                any. If you do not do so, your case may be dismissed.

                                               Any extension of the 30-day deadline is granted only for             Any extension of the 30-day deadline is granted only for
                                               cause and is limited to a maximum of 15 days.                        cause and is limited to a maximum of 15 days.

                                          ❑    I am not required to receive a briefing about credit            ❑    I am not required to receive a briefing about credit
                                               counseling because of:                                               counseling because of:
                                               ❑    Incapacity. I have a mental illness or a mental                 ❑    Incapacity. I have a mental illness or a mental
                                                                deficiency that makes me incapable                                   deficiency that makes me incapable
                                                                of realizing or making rational                                      of realizing or making rational
                                                                decisions about finances.                                            decisions about finances.
                                               ❑    Disability.   My physical disability causes me to               ❑    Disability.   My physical disability causes me to
                                                                  be unable to participate in a briefing                               be unable to participate in a briefing
                                                                  in person, by phone, or through the                                  in person, by phone, or through the
                                                                  internet, even after I reasonably tried                              internet, even after I reasonably tried
                                                                  to do so.                                                            to do so.
                                               ❑    Active duty. I am currently on active military duty in          ❑    Active duty. I am currently on active military duty in
                                                                 a military combat zone.                                              a military combat zone.

                                               If you believe you are not required to receive a briefing            If you believe you are not required to receive a briefing
                                               about credit counseling, you must file a motion for waiver           about credit counseling, you must file a motion for waiver
                                               of credit counseling with the court.                                 of credit counseling with the court.




Official Form 101                                           Voluntary Petition for Individuals Filing for Bankruptcy                                                             page 5
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 Debtor 1            Stacy                  Lynn                      Phillips                                            Case number (if known)
                     First Name             Middle Name               Last Name


 Part 6: Answer These Questions for Reporting Purposes


  16. What kind of debts do you               16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
      have?                                        an individual primarily for a personal, family, or household purpose.”
                                                     ❑    No. Go to line 16b.
                                                     ✔
                                                     ❑    Yes. Go to line 17.

                                              16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money for a
                                                   business or investment or through the operation of the business or investment.
                                                     ❑    No. Go to line 16c.
                                                     ❑    Yes. Go to line 17.

                                              16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?          ✔
                                               ❑     No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any           ❑     Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative
      exempt property is excluded and                     expenses are paid that funds will be available to distribute to unsecured creditors?
      administrative expenses are paid                        ❑    No
      that funds will be available for                        ❑    Yes
      distribution to unsecured
      creditors?

  18. How many creditors do you                 ✔
                                                ❑    1-49           ❑    1,000-5,000           ❑     25,001-50,000 ❑ 50,000-100,000 ❑ More than 100,000
      estimate that you owe?                    ❑    50-99          ❑    5,001-10,000
                                                ❑    100-199        ❑    10,001-25,000
                                                ❑    200-999


  19. How much do you estimate your             ❑    $0-$50,000                        ❑    $1,000,001-$10 million                    ❑    $500,000,001-$1 billion
      assets to be worth?                       ❑    $50,001-$100,000                  ❑    $10,000,001-$50 million                   ❑    $1,000,000,001-$10 billion
                                                ❑    $100,001-$500,000                 ❑    $50,000,001-$100 million                  ❑    $10,000,000,001-$50 billion
                                                ✔
                                                ❑    $500,001-$1 million               ❑    $100,000,001-$500 million                 ❑    More than $50 billion


  20. How much do you estimate your             ❑    $0-$50,000                        ❑    $1,000,001-$10 million                    ❑    $500,000,001-$1 billion
      liabilities to be?                        ❑    $50,001-$100,000                  ❑    $10,000,001-$50 million                   ❑    $1,000,000,001-$10 billion
                                                ❑    $100,001-$500,000                 ❑    $50,000,001-$100 million                  ❑    $10,000,000,001-$50 billion
                                                ✔
                                                ❑    $500,001-$1 million               ❑    $100,000,001-$500 million                 ❑    More than $50 billion

 Part 7: Sign Below


  For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                  If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United States
                                  Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I have
                                  obtained and read the notice required by 11 U.S.C. § 342(b).
                                  I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                  I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
                                  can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

                                    ✘ /s/ Stacy Lynn Phillips
                                         Stacy Lynn Phillips, Debtor 1
                                         Executed on 01/21/2021
                                                         MM/ DD/ YYYY




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 Debtor 1            Stacy                  Lynn                   Phillips                                           Case number (if known)
                     First Name             Middle Name             Last Name



   For your attorney, if you are             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
   represented by one                        under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for
                                             which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and,
   If you are not represented by an          in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules
   attorney, you do not need to file this    filed with the petition is incorrect.
   page.

                                              ✘ /s/ Martin C. Conway                                                   Date 01/21/2021
                                                                                                                             MM / DD / YYYY
                                                   Signature of Attorney for Debtor



                                                    Martin C. Conway
                                                   Printed name

                                                   Conway Law Group, PC
                                                   Firm name

                                                   12934 Harbor Drive Suite 107
                                                   Number      Street



                                                    Woodbridge                                                       VA       22192
                                                   City                                                              State    ZIP Code



                                                   Contact phone (855) 848-3011                      Email address martin@conwaylegal.com


                                                   34334                                                             VA
                                                   Bar number                                                        State




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 Fill in this information to identify your case:

  Debtor 1                         Stacy                          Lynn                       Phillips
                                  First Name                    Middle Name                 Last Name

  Debtor 2
  (Spouse, if filing)             First Name                    Middle Name                 Last Name

  United States Bankruptcy Court for the:                                            Eastern District of Virginia

  Case number                                                                                                                                                                       ❑      Check if this is an
  (if known)                                                                                                                                                                               amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all of your
schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a new Summary
and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                                            Your assets
                                                                                                                                                                                            Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                                       $568,801.00


    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                                               $48,355.09


    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                                      $617,156.09



 Part 2: Summarize Your Liabilities



                                                                                                                                                                                            Your liabilities
                                                                                                                                                                                            Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                               $476,483.09

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                                                    $0.00
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                                       +              $416,345.81


                                                                                                                                                                  Your total liabilities                    $892,828.90

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                                       $8,584.31


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                                     $7,679.31




Official Form 106Sum                                                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                page 1 of 2
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 Debtor 1             Stacy                  Lynn                     Phillips                                            Case number (if known)
                      First Name             Middle Name               Last Name



 Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑    No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔
   ❑    Yes



7. What kind of debt do you have?
   ✔
   ❑    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
        family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑    Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
        this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                                     $12,796.54




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                       Total claim

       From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                                        $0.00



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                               $0.00



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                                     $0.00



    9d. Student loans. (Copy line 6f.)                                                                                                $338,554.00



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                                     $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                         +                       $0.00



    9g. Total. Add lines 9a through 9f.                                                                                              $338,554.00




Official Form 106Sum                                   Summary of Your Assets and Liabilities and Certain Statistical Information                               page 2 of 2
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 Fill in this information to identify your case and this filing:

  Debtor 1                          Stacy                        Lynn                       Phillips
                                   First Name                   Middle Name                Last Name

  Debtor 2
  (Spouse, if filing)              First Name                   Middle Name                Last Name

  United States Bankruptcy Court for the:                                           Eastern District of Virginia
                                                                                                                                                                                   ❑   Check if this is an
  Case number                                                                                                                                                                          amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it
fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
      ❑ No. Go to Part 2.
      ✔ Yes. Where is the property?
      ❑
      1.1     5267 Quebec Place                                               What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
              Street address, if available, or other
              description
                                                                             ✔ Single-family home
                                                                             ❑                                                                             amount of any secured claims on Schedule D: Creditors

                                                                             ❑ Duplex or multi-unit building
                                                                                                                                                           Who Have Claims Secured by Property.

                                                                             ❑ Condominium or cooperative                                                Current value of the            Current value of the
                                                                             ❑ Manufactured or mobile home                                               entire property?                portion you own?
               Woodbridge, VA 22193                                          ❑ Land                                                                                    $568,800.00                    $568,800.00
              City                               State        ZIP Code       ❑ Investment property
                                                                             ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                                                                                                         as fee simple, tenancy by the entireties, or a life
              Prince William
              County
                                                                             ❑ Other                                                                     estate), if known.
                                                                              Who has an interest in the property? Check one.
                                                                                                                                                           Fee Simple
                                                                             ✔ Debtor 1 only
                                                                             ❑
                                                                             ❑ Debtor 2 only
                                                                             ❑ Debtor 1 and Debtor 2 only                                                 ❑ Check if this is community property
                                                                                                                                                              (see instructions)
                                                                             ❑ At least one of the debtors and another
                                                                             Source of Value:
                                                                             Zillow

    If you own or have more than one, list here:

      1.2     Sheraton Flex Vacation Plan                                     What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
              Street address, if available, or other
              description                                                    ❑ Single-family home                                                          amount of any secured claims on Schedule D: Creditors

                                                                             ❑ Duplex or multi-unit building
                                                                                                                                                           Who Have Claims Secured by Property.

               Timeshare                                                     ❑ Condominium or cooperative                                                Current value of the            Current value of the
                                                                             ❑ Manufactured or mobile home                                               entire property?                portion you own?
                                                                             ❑ Land                                                                                          $1.00                            $1.00
              City                               State        ZIP Code       ❑ Investment property
                                                                             ✔ Timeshare
                                                                             ❑                                                                           Describe the nature of your ownership interest (such
                                                                                                                                                         as fee simple, tenancy by the entireties, or a life
                                                                             ❑ Other                                                                     estate), if known.
              County
                                                                              Who has an interest in the property? Check one.
                                                                                                                                                           Fee Simple
                                                                             ✔ Debtor 1 only
                                                                             ❑
                                                                             ❑ Debtor 2 only
                                                                             ❑ Debtor 1 and Debtor 2 only                                                 ❑ Check if this is community property
                                                                                                                                                              (see instructions)
                                                                             ❑ At least one of the debtors and another
 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here.........................................................................................................                  ➜            $568,801.00




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                        First Name               Middle Name              Last Name




 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
       ❑ No
       ✔ Yes
       ❑
       3.1 Make:                          Dodge                Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put the

                                          Durango              ❑ Debtor 1 only                                     amount of any secured claims on Schedule D: Creditors

                                                               ❑ Debtor 2 only
            Model:                                                                                                 Who Have Claims Secured by Property.

                                          2015                 ❑ Debtor 1 and Debtor 2 only                       Current value of the          Current value of the
            Year:
                                                               ✔ At least one of the debtors and another
                                                               ❑                                                  entire property?              portion you own?
                                          147000
            Approximate mileage:                                                                                                 $14,900.00                  $7,450.00

            Other information:                                 ❑Check if this is community property (see
                                                                  instructions)




      If you own or have more than one, list here:

       3.2 Make:                          Toyota               Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put the

                                          Sienna               ❑ Debtor 1 only                                     amount of any secured claims on Schedule D: Creditors

                                                               ❑ Debtor 2 only
            Model:                                                                                                 Who Have Claims Secured by Property.

                                          2000                 ❑ Debtor 1 and Debtor 2 only                       Current value of the          Current value of the
            Year:
                                                               ✔ At least one of the debtors and another
                                                               ❑                                                  entire property?              portion you own?
                                          213000
            Approximate mileage:                                                                                                  $1,625.00                    $812.50

            Other information:                                 ❑Check if this is community property (see
                                                                  instructions)




       3.3 Make:                          Jeep                 Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put the

                                          Patriot              ❑ Debtor 1 only                                     amount of any secured claims on Schedule D: Creditors

                                                               ❑ Debtor 2 only
            Model:                                                                                                 Who Have Claims Secured by Property.

                                          2010                 ❑ Debtor 1 and Debtor 2 only                       Current value of the          Current value of the
            Year:
                                                               ✔ At least one of the debtors and another
                                                               ❑                                                  entire property?              portion you own?
                                          81000
            Approximate mileage:                                                                                                  $4,900.00                  $2,450.00

            Other information:                                 ❑Check if this is community property (see
                                                                instructions)




 4.     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
        Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
         ✔ No
         ❑
         ❑ Yes



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                            First Name                    Middle Name                       Last Name



 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here.........................................................................................................               ➜              $10,712.50




 Part 3: Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                                                                    Current value of the
                                                                                                                                                                                       portion you own?
                                                                                                                                                                                       Do not deduct secured
                                                                                                                                                                                       claims or exemptions.

 6.    Household goods and furnishings
       Examples:       Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe........
       ❑
                                               Household goods and furnishings: Kitchen/dining room table, 4 chairs, dishes, utensils, cookware,
                                               dining room cabinet, clothes washer and dryer; Living/family room table, sofa and TV stand; Bedroom                                                    $865.00
                                               table, 7 dressers, bed, vacuum, sheets, towels, blankets 2 chairs and 4 lamps.


 7. Electronics
       Examples:       Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
                       electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe........
       ❑
                                               Electronics: Game system, 6 TVs, 2 DVDs and 4 games                                                                                                    $100.00



 8.    Collectibles of value
       Examples:       Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                       stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
       ✔ No
       ❑
       ❑ Yes. Describe........

 9. Equipment for sports and hobbies
       Examples:       Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks;
                       carpentry tools; musical instruments

       ❑ No
       ✔ Yes. Describe........
       ❑
                                               Lawn mower and weed wacker                                                                                                                              $30.00



 10.    Firearms
        Examples:        Pistols, rifles, shotguns, ammunition, and related equipment
        ✔ No
        ❑
        ❑ Yes. Describe........

 11.    Clothes
        Examples:        Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        ✔ No
        ❑
        ❑ Yes. Describe........




Official Form 106A/B                                                                                     Schedule A/B: Property                                                                    page 3
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                              First Name                         Middle Name                            Last Name



 12.   Jewelry
       Examples:           Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                     Jewelry: Watch, costume jewelry and valuable jewelry
                                                                                                                                                                                                                           $320.00



 13.   Non-farm animals
       Examples:           Dogs, cats, birds, horses

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                     Family pet                                                                                                                                                              $1.00



 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Describe........

 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here........................................................................................................................................➜                                      $1,316.00




 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                                               Current value of the
                                                                                                                                                                                                            portion you own?
                                                                                                                                                                                                            Do not deduct secured
                                                                                                                                                                                                            claims or exemptions.


 16.   Cash
       Examples:           Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       ✔ No
       ❑
       ❑ Yes........................................................................................................................................................   Cash..............



 17.   Deposits of money
       Examples:           Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
                           similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes..................
       ❑
                                                                Institution name:



       17.1. Checking account:                                   Apple Federal Credit Union account ending with 017                                                                         $500.00



       17.2. Checking account:


       17.3. Savings account:                                    Apple Federal Credit Union account ending with 159                                                                           $0.00




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       17.4. Savings account:                    Apple Federal Credit Union account ending with 5900                                 $296.00



       17.5. Certificates of deposit:


       17.6. Other financial account:


       17.7. Other financial account:


       17.8. Other financial account:


       17.9. Other financial account:


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples:        Bond funds, investment accounts with brokerage firms, money market accounts
       ✔ No
       ❑
       ❑ Yes..................
       Institution or issuer name:




 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

       Name of entity:                                                                    % of ownership:




 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

       Issuer name:




 21.   Retirement or pension accounts
       Examples:        Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ❑ No
       ✔ Yes. List each account
       ❑
            separately.
       Type of account:                Institution name:




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       401(k) or similar plan:            Thrift Savings Plan                                                                $21,480.59

 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
       others
       ✔ No
       ❑
       ❑ Yes.....................
                                    Institution name or individual:

       Electric:


       Gas:


       Heating oil:


       Security deposit on rental unit:


       Prepaid rent:


       Telephone:


       Water:


       Rented furniture:


       Other:


 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes.....................
       Issuer name and description:




 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       ✔ No
       ❑
       ❑ Yes.....................
       Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c):




Official Form 106A/B                                                              Schedule A/B: Property                                          page 6
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 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
       benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples:     Internet domain names, websites, proceeds from royalties and licensing agreements
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 27.   Licenses, franchises, and other general intangibles
       Examples:     Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                     professional licenses
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


Money or property owed to you?                                                                                                                      Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.


 28.   Tax refunds owed to you

       ❑ No
       ✔ Yes.
       ❑         Give specific information about       2020                                                                Federal:                            $10,000.00
                 them, including whether you
                 already filed the returns and the     2020 | Virginia                                                     State:                               $4,000.00
                 tax years.......................
                                                                                                                           Local:


 29.   Family support
       Examples:     Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

       ✔ No
       ❑
       ❑ Yes.    Give specific information..........
                                                                                                                           Alimony:

                                                                                                                           Maintenance:

                                                                                                                           Support:

                                                                                                                           Divorce settlement:

                                                                                                                           Property settlement:


 30.   Other amounts someone owes you
       Examples:     Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social
                     Security benefits; unpaid loans you made to someone else
       ✔ No
       ❑
       ❑ Yes.    Give specific information..........




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 31.   Interests in insurance policies
       Examples:         Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ❑ No
       ✔ Yes.
       ❑            Name the insurance company
                                                                           Company name:                                                             Beneficiary:                          Surrender or refund value:
                    of each policy and list its value....
                                                                            State Farm life insurance policy                                                                                                       $0.00

                                                                            Life insurance policy provided by employer                                                                                             $0.00



 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property
       because someone has died.
       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples:         Accidents, employment disputes, insurance claims, or rights to sue
       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims

       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here..................................................................................................................................➜                             $36,276.59



 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?
       ❑No. Go to Part 6.
       ✔Yes. Go to line 38.
       ❑
                                                                                                                                                                                             Current value of the
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured
                                                                                                                                                                                             claims or exemptions.




Official Form 106A/B                                                                                       Schedule A/B: Property                                                                         page 8
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                           First Name                      Middle Name                       Last Name



 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe........

 39.   Office equipment, furnishings, and supplies
       Examples:         Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                Computer
                                                                                                                                                                                                  $50.00


 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe........

 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe........

 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe........
       Name of entity:                                                                                               % of ownership:

                                                                                                                                            %


 43.   Customer lists, mailing lists, or other compilations
       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
               ✔ No
               ❑
               ❑ Yes. Describe........

 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.........




 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here.................................................................................................................................➜                       $50.00



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.

 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       ✔No. Go to Part 7.
       ❑
       ❑Yes. Go to line 47.

Official Form 106A/B                                                                                       Schedule A/B: Property                                                             page 9
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                                                                                                                                                                                                  Current value of the
                                                                                                                                                                                                  portion you own?
                                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                                  claims or exemptions.

 47.   Farm animals
       Examples:          Livestock, poultry, farm-raised fish
       ✔ No
       ❑
       ❑ Yes.........................

 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............



 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here...................................................................................................................................➜                                     $0.00



 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above


 53.   Do you have other property of any kind you did not already list?
       Examples:          Season tickets, country club membership
       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                                                      $0.00



 Part 8: List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2..........................................................................................................................................➜                         $568,801.00



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                          First Name                    Middle Name                     Last Name



 56.   Part 2: Total vehicles, line 5                                                                            $10,712.50


 57.   Part 3: Total personal and household items, line 15                                                         $1,316.00


 58.   Part 4: Total financial assets, line 36                                                                   $36,276.59


 59.   Part 5: Total business-related property, line 45                                                                $50.00


 60.   Part 6: Total farm- and fishing-related property, line 52                                                        $0.00


 61.   Part 7: Total other property not listed, line 54                                      +                          $0.00


 62.   Total personal property. Add lines 56 through 61..............                                            $48,355.09           Copy personal property total➜        +         $48,355.09




 63.   Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................                   $617,156.09




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                       First Name      Middle Name             Last Name



                                                     SCHEDULE A/B: PROPERTY
                                                                  Continuation Page

 17. Deposits of money
      Savings account:                                                                                                             $0.00
      Apple Federal Credit Union custodial account for child
      Savings account:                                                                                                             $0.00
      Apple Federal Credit Union custodial account for child
      Savings account:                                                                                                             $0.00
      Apple Federal Credit Union custodial account for child




Official Form 106A/B                                                      Schedule A/B: Property
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 Fill in this information to identify your case:

  Debtor 1                    Stacy                Lynn                Phillips
                              First Name           Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)         First Name           Middle Name         Last Name

  United States Bankruptcy Court for the:                         Eastern District of Virginia

  Case number                                                                                                                         ❑    Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out and
attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar amount as
exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit. Some
exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you
claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the property is determined to
exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ❑
      ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on               Current value of the        Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                       portion you own
                                                             Copy the value from         Check only one box for each exemption.
                                                             Schedule A/B

                                                                                         ✔
 Brief description:
 5267 Quebec Place Woodbridge, VA 22193                                  $568,800.00
                                                                                         ❑                 $25,000.00             Va. Code Ann. § 34-4
                                                                                         ❑    100% of fair market value, up to
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:          1.1


                                                                                         ✔
 Brief description:
 2015 Dodge Durango                                                         $7,450.00
                                                                                         ❑                   $0.00                Va. Code Ann. § 34-26(8)
                                                                                         ❑    100% of fair market value, up to
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:          3.1


 3.   Are you claiming a homestead exemption of more than $170,350?
      (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes




Official Form 106C                                               Schedule C: The Property You Claim as Exempt                                                    page 1 of 4
                 Case 21-10085-KHK                 Doc 1      Filed 01/21/21 Entered 01/21/21 15:12:54                                 Desc Main
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 Debtor 1             Stacy               Lynn                  Phillips                                           Case number (if known)
                      First Name          Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on          Current value of the        Amount of the exemption you claim           Specific laws that allow exemption
 Schedule A/B that lists this property                  portion you own
                                                        Copy the value from         Check only one box for each exemption.
                                                        Schedule A/B

                                                                                    ✔
 Brief description:
 2000 Toyota Sienna                                                    $812.50
                                                                                    ❑                 $812.50                  Va. Code Ann. § 34-26(8)
                                                                                    ❑   100% of fair market value, up to
 Line from                                                                              any applicable statutory limit
 Schedule A/B:        3.2


                                                                                    ✔
 Brief description:
 2010 Jeep Patriot                                                   $2,450.00
                                                                                    ❑                  $0.00                   Va. Code Ann. § 34-26(8)
                                                                                    ❑   100% of fair market value, up to
 Line from                                                                              any applicable statutory limit
 Schedule A/B:        3.3


                                                                                    ✔
 Brief description:
 Household goods and furnishings: Kitchen/dining                       $865.00
                                                                                    ❑                  $0.00                   Va. Code Ann. § 34-26(4a)

 room table, 4 chairs, dishes, utensils, cookware,                                  ❑   100% of fair market value, up to
 dining room cabinet, clothes washer and dryer;                                         any applicable statutory limit
 Living/family room table, sofa and TV stand; Bedroom
 table, 7 dressers, bed, vacuum, sheets, towels,
 blankets 2 chairs and 4 lamps.

 Line from
 Schedule A/B:         6


                                                                                    ✔
 Brief description:
 Electronics: Game system, 6 TVs, 2 DVDs and 4                         $100.00
                                                                                    ❑                 $100.00                  Va. Code Ann. § 34-4

 games                                                                              ❑   100% of fair market value, up to
                                                                                        any applicable statutory limit
 Line from
 Schedule A/B:         7


                                                                                    ✔
 Brief description:
 Lawn mower and weed wacker                                                $30.00
                                                                                    ❑                 $30.00                   Va. Code Ann. § 34-4
                                                                                    ❑   100% of fair market value, up to
 Line from                                                                              any applicable statutory limit
 Schedule A/B:         9


                                                                                    ✔
 Brief description:
 Jewelry: Watch, costume jewelry and valuable jewelry                  $320.00
                                                                                    ❑                 $320.00                  Va. Code Ann. § 34-4
                                                                                    ❑   100% of fair market value, up to
 Line from                                                                              any applicable statutory limit
 Schedule A/B:        12


                                                                                    ✔
 Brief description:
 Family pet                                                                 $1.00
                                                                                    ❑                  $1.00                   Va. Code Ann. § 34-26(5)
                                                                                    ❑   100% of fair market value, up to
 Line from                                                                              any applicable statutory limit
 Schedule A/B:        13




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                     page 2 of 4
                 Case 21-10085-KHK                  Doc 1     Filed 01/21/21 Entered 01/21/21 15:12:54                                Desc Main
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 Debtor 1              Stacy              Lynn                  Phillips                                          Case number (if known)
                       First Name         Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on          Current value of the       Amount of the exemption you claim           Specific laws that allow exemption
 Schedule A/B that lists this property                  portion you own
                                                        Copy the value from        Check only one box for each exemption.
                                                        Schedule A/B

                                                                                   ✔
 Brief description:
 Apple Federal Credit Union account ending with 017                    $500.00
                                                                                   ❑                 $500.00                  Va. Code Ann. § 34-4

 Checking account                                                                  ❑   100% of fair market value, up to
                                                                                       any applicable statutory limit
 Line from
 Schedule A/B:         17


                                                                                   ✔
 Brief description:
 Apple Federal Credit Union account ending with 159                        $0.00
                                                                                   ❑                  $0.00                   Va. Code Ann. § 34-4

 Savings account                                                                   ❑   100% of fair market value, up to
                                                                                       any applicable statutory limit
 Line from
 Schedule A/B:         17


                                                                                   ✔
 Brief description:
 Apple Federal Credit Union account ending with 5900                   $296.00
                                                                                   ❑                 $296.00                  Va. Code Ann. § 34-4

 Savings account                                                                   ❑   100% of fair market value, up to
                                                                                       any applicable statutory limit
 Line from
 Schedule A/B:         17


                                                                                   ✔
 Brief description:
 Apple Federal Credit Union custodial account for                          $0.00
                                                                                   ❑                  $0.00                   Va. Code Ann. § 34-4

 child                                                                             ❑   100% of fair market value, up to
 Savings account                                                                       any applicable statutory limit

 Line from
 Schedule A/B:         17


                                                                                   ✔
 Brief description:
 Apple Federal Credit Union custodial account for                          $0.00
                                                                                   ❑                  $0.00                   Va. Code Ann. § 34-4

 child                                                                             ❑   100% of fair market value, up to
 Savings account                                                                       any applicable statutory limit

 Line from
 Schedule A/B:         17


                                                                                   ✔
 Brief description:
 Apple Federal Credit Union custodial account for                          $0.00
                                                                                   ❑                  $0.00                   Va. Code Ann. § 34-4

 child                                                                             ❑   100% of fair market value, up to
 Savings account                                                                       any applicable statutory limit

 Line from
 Schedule A/B:         17


                                                                                   ✔
 Brief description:
 Thrift Savings Plan                                                $21,480.59
                                                                                   ❑                  $0.00                   Va. Code Ann. § 34-34
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:         21




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                    page 3 of 4
                 Case 21-10085-KHK                   Doc 1        Filed 01/21/21 Entered 01/21/21 15:12:54                                 Desc Main
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 Debtor 1             Stacy                   Lynn                  Phillips                                           Case number (if known)
                      First Name              Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on              Current value of the        Amount of the exemption you claim           Specific laws that allow exemption
 Schedule A/B that lists this property                      portion you own
                                                            Copy the value from         Check only one box for each exemption.
                                                            Schedule A/B

                                                                                        ✔
 Brief description:
 Federal tax                                                            $10,000.00
                                                                                        ❑                $4,200.00                 Va. Code Ann. § 34-26 (9)
                                                                                        ❑   100% of fair market value, up to
 Line from                                                                                  any applicable statutory limit
 Schedule A/B:        28
                                                                                        ✔
                                                                                        ❑                $5,000.00                 Va. Code Ann. § 34-4
                                                                                        ❑   100% of fair market value, up to
                                                                                            any applicable statutory limit


                                                                                        ✔
 Brief description:
 State Farm life insurance policy                                               $0.00
                                                                                        ❑                  $0.00                   Va. Code Ann. §§ 38.2-3339
                                                                                        ❑   100% of fair market value, up to
 Line from                                                                                  any applicable statutory limit
 Schedule A/B:        31


                                                                                        ✔
 Brief description:
 Life insurance policy provided by employer                                     $0.00
                                                                                        ❑                  $0.00                   Va. Code Ann. §§ 38.2-3339
                                                                                        ❑   100% of fair market value, up to
 Line from                                                                                  any applicable statutory limit
 Schedule A/B:        31


                                                                                        ✔
 Brief description:
 Computer                                                                      $50.00
                                                                                        ❑                 $50.00                   Va. Code Ann. § 34-26(7)
                                                                                        ❑   100% of fair market value, up to
 Line from                                                                                  any applicable statutory limit
 Schedule A/B:        39




Official Form 106C                                            Schedule C: The Property You Claim as Exempt                                                      page 4 of 4
                  Case 21-10085-KHK                         Doc 1          Filed 01/21/21 Entered 01/21/21 15:12:54                                         Desc Main
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 Fill in this information to identify your case:

  Debtor 1                       Stacy                   Lynn                  Phillips
                                 First Name              Middle Name          Last Name

  Debtor 2
  (Spouse, if filing)            First Name              Middle Name          Last Name

  United States Bankruptcy Court for the:                               Eastern District of Virginia

  Case number                                                                                                                                           ❑    Check if this is an
  (if known)                                                                                                                                                 amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
      ❑No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      ✔Yes. Fill in all of the information below.
      ❑
 Part 1: List All Secured Claims

 2.     List all secured claims. If a creditor has more than one secured claim, list the creditor separately for            Column A               Column B              Column C
        each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much           Amount of claim        Value of collateral   Unsecured
        as possible, list the claims in alphabetical order according to the creditor’s name.                                Do not deduct the      that supports         portion
                                                                                                                            value of collateral.   this claim            If any
 2.1 Apple Fcu                                               Describe the property that secures the claim:                          $17,451.00              $7,450.00              $10,001.00
        Creditor's Name
                                                                2015 Dodge Durango
         Attn: Bankruptcy Dept
         4097 Monument Corner Drive
        Number          Street
                                                             As of the date you file, the claim is: Check all that apply.

         Fairfax, VA 22030                                   ❑Contingent
        City                      State       ZIP Code       ❑Unliquidated
        Who owes the debt? Check one.                        ❑Disputed
        ❑Debtor 1 only                                       Nature of lien. Check all that apply.
        ❑Debtor 2 only                                       ✔An agreement you made (such as mortgage or
                                                             ❑
        ❑Debtor 1 and Debtor 2 only                              secured car loan)
        ✔At least one of the debtors and another
        ❑                                                    ❑Statutory lien (such as tax lien, mechanic's lien)
        ❑Check if this claim relates to a                    ❑Judgment lien from a lawsuit
           community debt
                                                             ❑Other (including a right to offset)
        Date debt was incurred
        7/1/2015                                             Last 4 digits of account number 0            0   0    1

         Remarks: Durango payment



         Add the dollar value of your entries in Column A on this page. Write that number here:                                            $17,451.00




Official Form 106D                                              Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 6
               Case 21-10085-KHK                    Doc 1         Filed 01/21/21 Entered 01/21/21 15:12:54                                         Desc Main
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 Debtor 1              Stacy                Lynn                     Phillips                                              Case number (if known)
                       First Name           Middle Name              Last Name


                                                                                                                   Column A               Column B              Column C
              Additional Page
                                                                                                                   Amount of claim        Value of collateral   Unsecured
  Part 1:     After listing any entries on this page, number them beginning with                                   Do not deduct the      that supports         portion
              2.3, followed by 2.4, and so forth.                                                                  value of collateral.   this claim            If any



 2.2 Freedom Mortgage Corporation                   Describe the property that secures the claim:                         $418,368.00           $568,800.00                   $0.00
     Creditor's Name
                                                     5267 Quebec Place Woodbridge, VA 22193
      Attn: Bankruptcy
      907 Pleasant Valley Ave Ste 3
     Number          Street
                                                    As of the date you file, the claim is: Check all that apply.

      Mount Laurel, NJ 08054                        ❑Contingent
     City                      State   ZIP Code     ❑Unliquidated
     Who owes the debt? Check one.                  ❑Disputed
     ✔ Debtor 1 only
     ❑                                              Nature of lien. Check all that apply.
     ❑Debtor 2 only                                 ✔An agreement you made (such as mortgage or
                                                    ❑
     ❑Debtor 1 and Debtor 2 only                       secured car loan)
     ❑At least one of the debtors and another       ❑Statutory lien (such as tax lien, mechanic's lien)
     ❑Check if this claim relates to a              ❑Judgment lien from a lawsuit
        community debt
                                                    ❑Other (including a right to offset)
     Date debt was incurred
     4/1/2017                                       Last 4 digits of account number 0            2   7    6




      Remarks: Mortgage




 2.3 Konstantin and Fotini Bakkalapulo              Describe the property that secures the claim:                          $13,368.72           $568,800.00                   $0.00
     Creditor's Name
                                                     5267 Quebec Place Woodbridge, VA 22193
      1651 Sand Key Estates Blvd. #51
     Number          Street
      Tampa, FL 33615                               As of the date you file, the claim is: Check all that apply.
     City                      State   ZIP Code     ❑Contingent
     Who owes the debt? Check one.                  ❑Unliquidated
     ✔ Debtor 1 only
     ❑                                              ✔ Disputed
                                                    ❑
     ❑Debtor 2 only                                 Nature of lien. Check all that apply.
     ❑Debtor 1 and Debtor 2 only                    ❑An agreement you made (such as mortgage or
     ❑At least one of the debtors and another          secured car loan)
     ❑Check if this claim relates to a              ❑Statutory lien (such as tax lien, mechanic's lien)
        community debt                              ✔ Judgment lien from a lawsuit
                                                    ❑
     Date debt was incurred                         ❑Other (including a right to offset)
     1/4/12
                                                    Last 4 digits of account number O            -   4    2




      Remarks: Lack of proper service




      Add the dollar value of your entries in Column A on this page. Write that number here:                                     $431,736.72




Official Form 106D                          Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 6
               Case 21-10085-KHK                    Doc 1         Filed 01/21/21 Entered 01/21/21 15:12:54                                         Desc Main
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 Debtor 1              Stacy                Lynn                     Phillips                                              Case number (if known)
                       First Name           Middle Name              Last Name


                                                                                                                   Column A               Column B              Column C
              Additional Page
                                                                                                                   Amount of claim        Value of collateral   Unsecured
  Part 1:     After listing any entries on this page, number them beginning with                                   Do not deduct the      that supports         portion
              2.3, followed by 2.4, and so forth.                                                                  value of collateral.   this claim            If any



 2.4 Service Finance Company                        Describe the property that secures the claim:                           $4,701.00                  $1.00           $4,700.00
     Creditor's Name
                                                     Sheraton Flex Vacation Plan
      Attn: Bankruptcy                               Timeshare
      555 S Federal Highway
     Number          Street
                                                    As of the date you file, the claim is: Check all that apply.

      Boca Raton, FL 33432                          ❑Contingent
     City                      State   ZIP Code     ❑Unliquidated
     Who owes the debt? Check one.                  ❑Disputed
     ✔ Debtor 1 only
     ❑                                              Nature of lien. Check all that apply.
     ❑Debtor 2 only                                 ❑An agreement you made (such as mortgage or
     ❑Debtor 1 and Debtor 2 only                       secured car loan)
     ❑At least one of the debtors and another       ❑Statutory lien (such as tax lien, mechanic's lien)
     ❑Check if this claim relates to a              ❑Judgment lien from a lawsuit
        community debt
                                                    ❑Other (including a right to offset)
     Date debt was incurred
     9/1/2017                                       Last 4 digits of account number 5            2   5    7




 2.5 Svo Portfolio Services                         Describe the property that secures the claim:                           $5,541.34                  $1.00           $5,540.34
     Creditor's Name
                                                     Sheraton Flex Vacation Plan
      Attn: Loan Servicing Administration            Timeshare
      9002 San March Court
     Number          Street
                                                    As of the date you file, the claim is: Check all that apply.

      Orlando, FL 32819                             ❑Contingent
     City                      State   ZIP Code     ❑Unliquidated
     Who owes the debt? Check one.                  ❑Disputed
     ✔ Debtor 1 only
     ❑                                              Nature of lien. Check all that apply.
     ❑Debtor 2 only                                 ❑An agreement you made (such as mortgage or
     ❑Debtor 1 and Debtor 2 only                       secured car loan)
     ❑At least one of the debtors and another       ❑Statutory lien (such as tax lien, mechanic's lien)
     ❑Check if this claim relates to a              ❑Judgment lien from a lawsuit
        community debt
                                                    ❑Other (including a right to offset)
     Date debt was incurred
     11/1/2017                                      Last 4 digits of account number 9            0   6    6




      Add the dollar value of your entries in Column A on this page. Write that number here:                                      $10,242.34




Official Form 106D                          Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 6
               Case 21-10085-KHK                    Doc 1         Filed 01/21/21 Entered 01/21/21 15:12:54                                         Desc Main
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 Debtor 1              Stacy                Lynn                     Phillips                                              Case number (if known)
                       First Name           Middle Name              Last Name


                                                                                                                   Column A               Column B              Column C
              Additional Page
                                                                                                                   Amount of claim        Value of collateral   Unsecured
  Part 1:     After listing any entries on this page, number them beginning with                                   Do not deduct the      that supports         portion
              2.3, followed by 2.4, and so forth.                                                                  value of collateral.   this claim            If any



 2.6 Svo Portfolio Services                         Describe the property that secures the claim:                           $5,121.76                  $1.00           $5,120.76
     Creditor's Name
                                                     Sheraton Flex Vacation Plan
      Attn: Loan Servicing Administration            Timeshare
      9002 San March Court
     Number          Street
                                                    As of the date you file, the claim is: Check all that apply.

      Orlando, FL 32819                             ❑Contingent
     City                      State   ZIP Code     ❑Unliquidated
     Who owes the debt? Check one.                  ❑Disputed
     ✔ Debtor 1 only
     ❑                                              Nature of lien. Check all that apply.
     ❑Debtor 2 only                                 ❑An agreement you made (such as mortgage or
     ❑Debtor 1 and Debtor 2 only                       secured car loan)
     ❑At least one of the debtors and another       ❑Statutory lien (such as tax lien, mechanic's lien)
     ❑Check if this claim relates to a              ❑Judgment lien from a lawsuit
        community debt
                                                    ❑Other (including a right to offset)
     Date debt was incurred
     9/1/2018                                       Last 4 digits of account number 3            6   3    9




 2.7 Synchrony/Ashley Furniture Homestore           Describe the property that secures the claim:                           $1,870.27               $865.00            $1,005.27
     Creditor's Name
                                                     Household goods and furnishings: Kitchen/dining
      Attn: Bankruptcy                               room table, 4 chairs, dishes, utensils, cookware,
      PO Box 965060                                  dining room cabinet, clothes washer and dryer;
     Number          Street                          Living/family room table, sofa and TV stand;
                                                     Bedroom table, 7 dressers, bed, vacuum, sheets,
      Orlando, FL 32896-5060                         towels, blankets 2 chairs and 4 lamps.
     City                      State   ZIP Code
                                                    As of the date you file, the claim is: Check all that apply.
     Who owes the debt? Check one.
     ✔ Debtor 1 only
     ❑                                              ❑Contingent
     ❑Debtor 2 only                                 ❑Unliquidated
     ❑Debtor 1 and Debtor 2 only                    ❑Disputed
     ❑At least one of the debtors and another       Nature of lien. Check all that apply.
     ❑Check if this claim relates to a              ❑An agreement you made (such as mortgage or
        community debt                                 secured car loan)

     Date debt was incurred                         ❑Statutory lien (such as tax lien, mechanic's lien)
     4/1/2017                                       ❑Judgment lien from a lawsuit
                                                    ❑Other (including a right to offset)
                                                    Last 4 digits of account number 6            8   6    6




      Add the dollar value of your entries in Column A on this page. Write that number here:                                       $6,992.03




Official Form 106D                          Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 4 of 6
               Case 21-10085-KHK                    Doc 1         Filed 01/21/21 Entered 01/21/21 15:12:54                                         Desc Main
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 Debtor 1              Stacy                Lynn                     Phillips                                              Case number (if known)
                       First Name           Middle Name              Last Name


                                                                                                                   Column A               Column B              Column C
              Additional Page
                                                                                                                   Amount of claim        Value of collateral   Unsecured
  Part 1:     After listing any entries on this page, number them beginning with                                   Do not deduct the      that supports         portion
              2.3, followed by 2.4, and so forth.                                                                  value of collateral.   this claim            If any



 2.8 Wells Fargo Dealer Services                    Describe the property that secures the claim:                          $10,061.00              $2,450.00           $7,611.00
     Creditor's Name
                                                     2010 Jeep Patriot
      Attn: Bankruptcy
      1100 Corporate Center Drive
     Number          Street
                                                    As of the date you file, the claim is: Check all that apply.

      Raleigh, NC 27607                             ❑Contingent
     City                      State   ZIP Code     ❑Unliquidated
     Who owes the debt? Check one.                  ❑Disputed
     ❑Debtor 1 only                                 Nature of lien. Check all that apply.
     ❑Debtor 2 only                                 ❑An agreement you made (such as mortgage or
     ❑Debtor 1 and Debtor 2 only                       secured car loan)
     ✔At least one of the debtors and another
     ❑                                              ❑Statutory lien (such as tax lien, mechanic's lien)
     ❑Check if this claim relates to a              ❑Judgment lien from a lawsuit
        community debt
                                                    ❑Other (including a right to offset)
     Date debt was incurred
     4/1/2020                                       Last 4 digits of account number 1            2   0    3




      Add the dollar value of your entries in Column A on this page. Write that number here:                                      $10,061.00
      If this is the last page of your form, add the dollar value totals from all pages. Write that number                       $476,483.09
      here:




Official Form 106D                          Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 5 of 6
                 Case 21-10085-KHK                   Doc 1       Filed 01/21/21 Entered 01/21/21 15:12:54                                     Desc Main
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 Debtor 1             Stacy                Lynn                     Phillips                                         Case number (if known)
                      First Name            Middle Name             Last Name



 Part 2: List Others to Be Notified for a Debt That You Already Listed

 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is trying
 to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more than one
 creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1,
 do not fill out or submit this page.

    1                                                                                        On which line in Part 1 did you enter the creditor?     3
        Circuit Court for Pinellas Co.
        Name
                                                                                             Last 4 digits of account number O       -    4    2
        315 Court Street
        Number        Street



        Clearwater, FL 33756
        City                                                State         ZIP Code

    2                                                                                        On which line in Part 1 did you enter the creditor?     3
        Prince William County Circuit
        Name
                                                                                             Last 4 digits of account number 9       6    0    6
        9311 Lee Avenue
        Number        Street



        Manassas, VA 20110-0000
        City                                                State         ZIP Code




Official Form 106D                                Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                     page 6 of 6
                 Case 21-10085-KHK                    Doc 1        Filed 01/21/21 Entered 01/21/21 15:12:54                                     Desc Main
                                                                  Document Page 32 of 82
 Fill in this information to identify your case:

  Debtor 1                   Stacy                 Lynn                Phillips
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Eastern District of Virginia

  Case number                                                                                                                               ❑    Check if this is an
  (if known)                                                                                                                                     amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                        12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ✔ No. Go to Part 2.
     ❑
     ❑ Yes.
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
     identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
     possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
     Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total       Priority         Nonpriority
                                                                                                                                  claim       amount           amount

                                                                    Last 4 digits of account number
        Priority Creditor's Name
                                                                    When was the debt incurred?
        Number           Street                                     As of the date you file, the claim is: Check all that
                                                                    apply.
                                                                    ❑ Contingent
                                                                    ❑ Unliquidated
                                                                    ❑ Disputed
        City                               State   ZIP Code
        Who incurred the debt? Check one.
        ❑ Debtor 1 only                                             Type of PRIORITY unsecured claim:
        ❑ Debtor 2 only                                             ❑ Domestic support obligations
        ❑ Debtor 1 and Debtor 2 only                                ❑ Taxes and certain other debts you owe the
        ❑ At least one of the debtors and another                       government
        ❑ Check if this claim is for a community debt               ❑ Claims for death or person injury while you were
                                                                        intoxicated
        Is the claim subject to offset?                             ❑ Other. Specify
        ❑ No
        ❑ Yes




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 Debtor 1              Stacy                  Lynn                      Phillips                                            Case number (if known)
                       First Name              Middle Name              Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔
      ❑     Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
     than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation Page of
     Part 2.
                                                                                                                                                             Total claim

4.1     Amex                                                                       Last 4 digits of account number 2993                                               $6,381.97
        Nonpriority Creditor's Name
                                                                                   When was the debt incurred?          07/01/2018
        Correspondence/Bankruptcy
                                                                                   As of the date you file, the claim is: Check all that apply.
        PO Box 981540                                                              ❑ Contingent
                                                                                   ❑ Unliquidated
        Number           Street

                                                                                   ❑ Disputed
        El Paso, TX 79998-1540
        City                              State      ZIP Code
        Who incurred the debt? Check one.                                          Type of NONPRIORITY unsecured claim:
        ✔
        ❑ Debtor 1 only                                                            ❑ Student loans
        ❑ Debtor 2 only                                                            ❑ Obligations arising out of a separation agreement or
        ❑
                                                                                       divorce that you did not report as priority claims
          Debtor 1 and Debtor 2 only
                                                                                   ❑ Debts to pension or profit-sharing plans, and other
        ❑ At least one of the debtors and another                                      similar debts
        ❑ Check if this claim is for a community debt                              ✔ Other. Specify
                                                                                   ❑
        Is the claim subject to offset?                                                CreditCard
        ✔ No
        ❑
        ❑ Yes
4.2     Capital One                                                                Last 4 digits of account number 4455                                                    $120.00
        Nonpriority Creditor's Name
                                                                                   When was the debt incurred?          02/01/2011
        PO Box 71083                                                               As of the date you file, the claim is: Check all that apply.
                                                                                   ❑ Contingent
        Number           Street

                                                                                   ❑ Unliquidated
        Charlotte, NC 28272-0000
        City                              State      ZIP Code
        Who incurred the debt? Check one.
                                                                                   ❑ Disputed
        ✔ Debtor 1 only
        ❑                                                                          Type of NONPRIORITY unsecured claim:
        ❑ Debtor 2 only                                                            ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                               ❑ Obligations arising out of a separation agreement or
        ❑ At least one of the debtors and another
                                                                                       divorce that you did not report as priority claims
                                                                                   ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                  similar debts
        Is the claim subject to offset?                                            ✔ Other. Specify
                                                                                   ❑
        ✔ No
        ❑                                                                              CreditCard
        ❑ Yes
4.3     Capital One                                                                Last 4 digits of account number 9416                                               $2,379.68
        Nonpriority Creditor's Name
                                                                                   When was the debt incurred?          06/01/2013
        PO Box 71083                                                               As of the date you file, the claim is: Check all that apply.
                                                                                   ❑ Contingent
        Number           Street

                                                                                   ❑ Unliquidated
        Charlotte, NC 28272-0000
        City                              State      ZIP Code
        Who incurred the debt? Check one.
                                                                                   ❑ Disputed
        ✔ Debtor 1 only
        ❑                                                                          Type of NONPRIORITY unsecured claim:
        ❑ Debtor 2 only                                                            ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                               ❑ Obligations arising out of a separation agreement or
        ❑ At least one of the debtors and another
                                                                                       divorce that you did not report as priority claims
                                                                                   ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                  similar debts
        Is the claim subject to offset?                                            ✔ Other. Specify
                                                                                   ❑
        ✔ No
        ❑                                                                              CreditCard
        ❑ Yes


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 Debtor 1              Stacy                  Lynn                    Phillips                                            Case number (if known)
                       First Name             Middle Name             Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.4     Citibank                                                                 Last 4 digits of account number 9823                                        $14,925.00
       Nonpriority Creditor's Name
                                                                                 When was the debt incurred?          06/01/2018
        Citicorp Credit Srvs/Centralized Bk dept
                                                                                 As of the date you file, the claim is: Check all that apply.
        PO Box 790034
       Number           Street
                                                                                 ❑   Contingent

        St Louis, MO 63179
                                                                                 ❑   Unliquidated
       City                              State       ZIP Code                    ❑   Disputed
       Who incurred the debt? Check one.                                         Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                      ❑   Student loans
       ❑      Debtor 2 only                                                      ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                     divorce that you did not report as priority claims
                                                                                 ❑
       ❑      At least one of the debtors and another
                                                                                     Debts to pension or profit-sharing plans, and other
                                                                                     similar debts
       ❑      Check if this claim is for a community debt                        ✔
                                                                                 ❑   Other. Specify
       Is the claim subject to offset?                                               CreditCard
       ✔
       ❑      No
       ❑      Yes
4.5     Citibank                                                                 Last 4 digits of account number 5642                                         $3,212.91
       Nonpriority Creditor's Name
                                                                                 When was the debt incurred?          06/01/2017
        Citicorp Credit Srvs/Centralized Bk dept
                                                                                 As of the date you file, the claim is: Check all that apply.
        PO Box 790034
       Number           Street
                                                                                 ❑   Contingent

        St Louis, MO 63179
                                                                                 ❑   Unliquidated
       City                              State       ZIP Code                    ❑   Disputed
       Who incurred the debt? Check one.                                         Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                      ❑   Student loans
       ❑      Debtor 2 only                                                      ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                     divorce that you did not report as priority claims
                                                                                 ❑
       ❑      At least one of the debtors and another
                                                                                     Debts to pension or profit-sharing plans, and other
                                                                                     similar debts
       ❑      Check if this claim is for a community debt                        ✔
                                                                                 ❑   Other. Specify
       Is the claim subject to offset?                                               CreditCard
       ✔
       ❑      No
       ❑      Yes
4.6     Discover Financial                                                       Last 4 digits of account number 1565                                        $19,359.85
       Nonpriority Creditor's Name
                                                                                 When was the debt incurred?          06/01/2016
        PO Box 3025
                                                                                 As of the date you file, the claim is: Check all that apply.
       Number           Street
        New Albany, OH 43054-0000
                                                                                 ❑   Contingent
       City                              State       ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                         ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                      ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                         ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                     divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                                 ❑   Debts to pension or profit-sharing plans, and other
                                                                                     similar debts
       Is the claim subject to offset?                                           ✔
                                                                                 ❑   Other. Specify
       ✔
       ❑      No                                                                     CreditCard
       ❑      Yes




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 Debtor 1              Stacy                  Lynn                    Phillips                                            Case number (if known)
                       First Name             Middle Name             Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.7     Fed Loan Servicing                                                       Last 4 digits of account number 0011                                       $149,293.00
       Nonpriority Creditor's Name
                                                                                 When was the debt incurred?          12/01/2015
        PO Box 60610
                                                                                 As of the date you file, the claim is: Check all that apply.
       Number           Street
        Harrisburg, PA 17106-0000
                                                                                 ❑   Contingent
       City                              State       ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                         ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                      ✔
                                                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                         ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                     divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                                 ❑   Debts to pension or profit-sharing plans, and other
                                                                                     similar debts
       Is the claim subject to offset?                                           ❑   Other. Specify
       ✔
       ❑      No                                                                     Educational
       ❑      Yes
4.8     Fed Loan Servicing                                                       Last 4 digits of account number 0023                                        $35,938.00
       Nonpriority Creditor's Name
                                                                                 When was the debt incurred?          05/01/2019
        PO Box 60610
                                                                                 As of the date you file, the claim is: Check all that apply.
       Number           Street
        Harrisburg, PA 17106-0000
                                                                                 ❑   Contingent
       City                              State       ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                         ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                      ✔
                                                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                         ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                     divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                                 ❑   Debts to pension or profit-sharing plans, and other
                                                                                     similar debts
       Is the claim subject to offset?                                           ❑   Other. Specify
       ✔
       ❑      No                                                                     Educational
       ❑      Yes
4.9     Fed Loan Servicing                                                       Last 4 digits of account number 0021                                        $22,521.00
       Nonpriority Creditor's Name
                                                                                 When was the debt incurred?          01/01/2019
        PO Box 60610
                                                                                 As of the date you file, the claim is: Check all that apply.
       Number           Street
        Harrisburg, PA 17106-0000
                                                                                 ❑   Contingent
       City                              State       ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                         ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                      ✔
                                                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                         ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                     divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                                 ❑   Debts to pension or profit-sharing plans, and other
                                                                                     similar debts
       Is the claim subject to offset?                                           ❑   Other. Specify
       ✔
       ❑      No                                                                     Educational
       ❑      Yes




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 Debtor 1              Stacy                  Lynn                    Phillips                                            Case number (if known)
                       First Name             Middle Name             Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.10    Fed Loan Servicing                                                       Last 4 digits of account number 0017                                        $20,632.00
       Nonpriority Creditor's Name
                                                                                 When was the debt incurred?          05/01/2018
        PO Box 60610
                                                                                 As of the date you file, the claim is: Check all that apply.
       Number           Street
        Harrisburg, PA 17106-0000
                                                                                 ❑   Contingent
       City                              State       ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                         ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                      ✔
                                                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                         ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                     divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                                 ❑   Debts to pension or profit-sharing plans, and other
                                                                                     similar debts
       Is the claim subject to offset?                                           ❑   Other. Specify
       ✔
       ❑      No                                                                     Educational
       ❑      Yes
4.11    Fed Loan Servicing                                                       Last 4 digits of account number 0019                                        $18,754.00
       Nonpriority Creditor's Name
                                                                                 When was the debt incurred?          08/01/2018
        PO Box 60610
                                                                                 As of the date you file, the claim is: Check all that apply.
       Number           Street
        Harrisburg, PA 17106-0000
                                                                                 ❑   Contingent
       City                              State       ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                         ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                      ✔
                                                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                         ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                     divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                                 ❑   Debts to pension or profit-sharing plans, and other
                                                                                     similar debts
       Is the claim subject to offset?                                           ❑   Other. Specify
       ✔
       ❑      No                                                                     Educational
       ❑      Yes
4.12    Fed Loan Servicing                                                       Last 4 digits of account number 0012                                        $11,837.00
       Nonpriority Creditor's Name
                                                                                 When was the debt incurred?          08/01/2017
        PO Box 60610
                                                                                 As of the date you file, the claim is: Check all that apply.
       Number           Street
        Harrisburg, PA 17106-0000
                                                                                 ❑   Contingent
       City                              State       ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                         ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                      ✔
                                                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                         ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                     divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                                 ❑   Debts to pension or profit-sharing plans, and other
                                                                                     similar debts
       Is the claim subject to offset?                                           ❑   Other. Specify
       ✔
       ❑      No                                                                     Educational
       ❑      Yes




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 Debtor 1              Stacy                  Lynn                    Phillips                                            Case number (if known)
                       First Name             Middle Name             Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.13    Fed Loan Servicing                                                       Last 4 digits of account number 0013                                        $11,799.00
       Nonpriority Creditor's Name
                                                                                 When was the debt incurred?          08/01/2017
        PO Box 60610
                                                                                 As of the date you file, the claim is: Check all that apply.
       Number           Street
        Harrisburg, PA 17106-0000
                                                                                 ❑   Contingent
       City                              State       ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                         ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                      ✔
                                                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                         ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                     divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                                 ❑   Debts to pension or profit-sharing plans, and other
                                                                                     similar debts
       Is the claim subject to offset?                                           ❑   Other. Specify
       ✔
       ❑      No                                                                     Educational
       ❑      Yes
4.14    Fed Loan Servicing                                                       Last 4 digits of account number 0014                                        $11,612.00
       Nonpriority Creditor's Name
                                                                                 When was the debt incurred?          12/01/2017
        PO Box 60610
                                                                                 As of the date you file, the claim is: Check all that apply.
       Number           Street
        Harrisburg, PA 17106-0000
                                                                                 ❑   Contingent
       City                              State       ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                         ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                      ✔
                                                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                         ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                     divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                                 ❑   Debts to pension or profit-sharing plans, and other
                                                                                     similar debts
       Is the claim subject to offset?                                           ❑   Other. Specify
       ✔
       ❑      No                                                                     Educational
       ❑      Yes
4.15    Fed Loan Servicing                                                       Last 4 digits of account number 0015                                        $11,543.00
       Nonpriority Creditor's Name
                                                                                 When was the debt incurred?          12/01/2017
        PO Box 60610
                                                                                 As of the date you file, the claim is: Check all that apply.
       Number           Street
        Harrisburg, PA 17106-0000
                                                                                 ❑   Contingent
       City                              State       ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                         ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                      ✔
                                                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                         ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                     divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                                 ❑   Debts to pension or profit-sharing plans, and other
                                                                                     similar debts
       Is the claim subject to offset?                                           ❑   Other. Specify
       ✔
       ❑      No                                                                     Educational
       ❑      Yes




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                       First Name             Middle Name             Last Name

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  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.16    Fed Loan Servicing                                                       Last 4 digits of account number 0016                                        $11,399.00
       Nonpriority Creditor's Name
                                                                                 When was the debt incurred?          05/01/2018
        PO Box 60610
                                                                                 As of the date you file, the claim is: Check all that apply.
       Number           Street
        Harrisburg, PA 17106-0000
                                                                                 ❑   Contingent
       City                              State       ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                         ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                      ✔
                                                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                         ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                     divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                                 ❑   Debts to pension or profit-sharing plans, and other
                                                                                     similar debts
       Is the claim subject to offset?                                           ❑   Other. Specify
       ✔
       ❑      No                                                                     Educational
       ❑      Yes
4.17    Fed Loan Servicing                                                       Last 4 digits of account number 0018                                        $11,319.00
       Nonpriority Creditor's Name
                                                                                 When was the debt incurred?          08/01/2018
        PO Box 60610
                                                                                 As of the date you file, the claim is: Check all that apply.
       Number           Street
        Harrisburg, PA 17106-0000
                                                                                 ❑   Contingent
       City                              State       ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                         ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                      ✔
                                                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                         ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                     divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                                 ❑   Debts to pension or profit-sharing plans, and other
                                                                                     similar debts
       Is the claim subject to offset?                                           ❑   Other. Specify
       ✔
       ❑      No                                                                     Educational
       ❑      Yes
4.18    Fed Loan Servicing                                                       Last 4 digits of account number 0020                                        $11,071.00
       Nonpriority Creditor's Name
                                                                                 When was the debt incurred?          12/01/2018
        PO Box 60610
                                                                                 As of the date you file, the claim is: Check all that apply.
       Number           Street
        Harrisburg, PA 17106-0000
                                                                                 ❑   Contingent
       City                              State       ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                         ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                      ✔
                                                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                         ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                     divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                                 ❑   Debts to pension or profit-sharing plans, and other
                                                                                     similar debts
       Is the claim subject to offset?                                           ❑   Other. Specify
       ✔
       ❑      No                                                                     Educational
       ❑      Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 7 of 10
                   Case 21-10085-KHK                    Doc 1       Filed 01/21/21 Entered 01/21/21 15:12:54                                    Desc Main
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 Debtor 1              Stacy                  Lynn                    Phillips                                            Case number (if known)
                       First Name             Middle Name             Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.19    Fed Loan Servicing                                                       Last 4 digits of account number 0022                                        $10,836.00
       Nonpriority Creditor's Name
                                                                                 When was the debt incurred?          05/01/2019
        PO Box 60610
                                                                                 As of the date you file, the claim is: Check all that apply.
       Number           Street
        Harrisburg, PA 17106-0000
                                                                                 ❑   Contingent
       City                              State       ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                         ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                      ✔
                                                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                         ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                     divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                                 ❑   Debts to pension or profit-sharing plans, and other
                                                                                     similar debts
       Is the claim subject to offset?                                           ❑   Other. Specify
       ✔
       ❑      No                                                                     Educational
       ❑      Yes
4.20    Freedom Plus                                                             Last 4 digits of account number 5839                                        $21,056.00
       Nonpriority Creditor's Name
                                                                                 When was the debt incurred?          08/01/2019
        Attn: Bankruptcy
                                                                                 As of the date you file, the claim is: Check all that apply.
        PO Box 2340
       Number           Street
                                                                                 ❑   Contingent

        Phoenix, AZ 85002-2340
                                                                                 ❑   Unliquidated
       City                              State       ZIP Code                    ❑   Disputed
       Who incurred the debt? Check one.                                         Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                      ❑   Student loans
       ❑      Debtor 2 only                                                      ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                     divorce that you did not report as priority claims

       ✔                                                                         ❑
       ❑      At least one of the debtors and another
                                                                                     Debts to pension or profit-sharing plans, and other
                                                                                     similar debts
       ❑      Check if this claim is for a community debt                        ✔
                                                                                 ❑   Other. Specify
       Is the claim subject to offset?                                               Unsecured
       ✔
       ❑      No
       ❑      Yes
4.21    Syncb/walmart                                                            Last 4 digits of account number 5078                                         $4,866.27
       Nonpriority Creditor's Name
                                                                                 When was the debt incurred?          12/01/2012
        Po Box 30281
                                                                                 As of the date you file, the claim is: Check all that apply.
       Number           Street
        Salt Lake City, UT 84130
                                                                                 ❑   Contingent
       City                              State       ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                         ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                      ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                         ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                     divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                                 ❑   Debts to pension or profit-sharing plans, and other
                                                                                     similar debts
       Is the claim subject to offset?                                           ✔
                                                                                 ❑   Other. Specify
       ✔
       ❑      No                                                                     ChargeAccount
       ❑      Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 8 of 10
                   Case 21-10085-KHK                    Doc 1       Filed 01/21/21 Entered 01/21/21 15:12:54                                    Desc Main
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 Debtor 1              Stacy                  Lynn                    Phillips                                            Case number (if known)
                       First Name             Middle Name             Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                            Total claim


4.22    Synchrony Bank/Amazon                                                    Last 4 digits of account number 1278                                         $5,490.13
       Nonpriority Creditor's Name
                                                                                 When was the debt incurred?          02/01/2013
        Attn: Bankruptcy
                                                                                 As of the date you file, the claim is: Check all that apply.
        PO Box 965060
       Number           Street
                                                                                 ❑   Contingent

        Orlando, FL 32896-5060
                                                                                 ❑   Unliquidated
       City                              State       ZIP Code                    ❑   Disputed
       Who incurred the debt? Check one.                                         Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                      ❑   Student loans
       ❑      Debtor 2 only                                                      ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                     divorce that you did not report as priority claims
                                                                                 ❑
       ❑      At least one of the debtors and another
                                                                                     Debts to pension or profit-sharing plans, and other
                                                                                     similar debts
       ❑      Check if this claim is for a community debt                        ✔
                                                                                 ❑   Other. Specify
       Is the claim subject to offset?                                               ChargeAccount
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 9 of 10
                Case 21-10085-KHK                        Doc 1    Filed 01/21/21 Entered 01/21/21 15:12:54                           Desc Main
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 Debtor 1              Stacy                Lynn                   Phillips                                    Case number (if known)
                       First Name           Middle Name             Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.




                                                                                            Total claim


                   6a. Domestic support obligations                               6a.                              $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                  6b.                              $0.00
                       government

                   6c. Claims for death or personal injury while you              6c.                              $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.            6d.   +                          $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                            6e.                               $0.00




                                                                                            Total claim


                   6f. Student loans                                              6f.                        $338,554.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                    6g.                              $0.00
                       agreement or divorce that you did not report as
                       priority claims

                   6h. Debts to pension or profit-sharing plans, and              6h.                              $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured claims.         6i.   +                     $77,791.81
                       Write that amount here.

                   6j. Total. Add lines 6f through 6i.                            6j.                         $416,345.81




Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       page 10 of 10
                    Case 21-10085-KHK                   Doc 1        Filed 01/21/21 Entered 01/21/21 15:12:54                                     Desc Main
                                                                    Document Page 42 of 82
 Fill in this information to identify your case:

     Debtor 1                 Stacy                 Lynn                Phillips
                             First Name            Middle Name          Last Name

     Debtor 2
     (Spouse, if filing)     First Name            Middle Name          Last Name

     United States Bankruptcy Court for the:                       Eastern District of Virginia

     Case number                                                                                                                             ❑    Check if this is an
     (if known)                                                                                                                                   amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and case number (if
known).

 1.     Do you have any executory contracts or unexpired leases?
        ❑No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ✔Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
        ❑
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example, rent,
       vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.



       Person or company with whom you have the contract or lease                                 State what the contract or lease is for

2.1                                                                                                Home Security
        ADT Security Corporation                                                                   Contract to be ASSUMED
        Name
        1501 Yamato Rd.
        Number     Street
        Boca Raton, FL 33431-0000
        City                              State    ZIP Code

2.2                                                                                                Water Repair Insurance
        American Water Resources, LLC                                                              Contract to be ASSUMED
        Name
        1 Water St.
        Number      Street
        Camden, NJ 08102
        City                              State    ZIP Code

2.3                                                                                                Gym Membership
        World Gym                                                                                  Contract to be ASSUMED
        Name
         Forestdale Plaza
        4176 Dale Boulevard Suite 2225
        Number     Street
        Woodbridge, VA 22193
        City                              State    ZIP Code

2.4                                                                                                Gym Membership
        XSport Fitness                                                                             Contract to be ASSUMED
        Name
        13989 Noblewood Plaza
        Number     Street
        Woodbridge, VA 22193
        City                              State    ZIP Code




Official Form 106G                                            Schedule G: Executory Contracts and Unexpired Leases                                                      page 1 of 1
                      Case 21-10085-KHK                       Doc 1        Filed 01/21/21 Entered 01/21/21 15:12:54                                Desc Main
                                                                          Document Page 43 of 82
 Fill in this information to identify your case:

  Debtor 1                        Stacy                   Lynn                Phillips
                                 First Name              Middle Name          Last Name

  Debtor 2
  (Spouse, if filing)            First Name              Middle Name          Last Name

  United States Bankruptcy Court for the:                                Eastern District of Virginia

  Case number                                                                                                                                ❑     Check if this is an
  (if known)                                                                                                                                       amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                   12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing together,
both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries in the boxes on
the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      ❑No
      ✔Yes
      ❑
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California, Idaho,
    Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ✔No. Go to line 3.
      ❑
      ❑Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        ❑No
        ❑Yes. In which community state or territory did you live?                                        . Fill in the name and current address of that person.


               Name

               Number          Street

               City                                   State   ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2 again as a
    codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D), Schedule E/F (Official
    Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                                  Column 2: The creditor to whom you owe the debt
                                                                                                                 Check all schedules that apply:
3.1
      Egan, Joe
                                                                                                                 ✔Schedule D, line 2.8
                                                                                                                 ❑
      Name                                                                                                       ✔Schedule E/F, line 4.20
                                                                                                                 ❑
      5267 Quebec Place
      Number          Street                                                                                     ❑Schedule G, line
      Woodbridge, VA 22193
      City                                    State     ZIP Code

3.2
      Haselman, Pattie K.
                                                                                                                 ✔Schedule D, line 2.1
                                                                                                                 ❑
      Name
      5 Lightmont Dr.
                                                                                                                 ❑Schedule E/F, line
      Number          Street                                                                                     ❑Schedule G, line
      Fredericksburg, VA 22406
      City                                    State     ZIP Code




Official Form 106H                                                                Schedule H: Your Codebtors                                                             page 1 of 1
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 Fill in this information to identify your case:

  Debtor 1                   Stacy                  Lynn              Phillips
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name                                                  Check if this is:

  United States Bankruptcy Court for the:                        Eastern District of Virginia                                    ❑An amended filing
                                                                                                                                 ❑A supplement showing postpetition
  Case number                                                                                                                         chapter 13 income as of the following date:
  (if known)

                                                                                                                                      MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                                 Debtor 1                                          Debtor 2 or non-filing spouse


     If you have more than one job,            Employment status           ✔Employed ❑Not Employed
                                                                           ❑                                                   ❑Employed ❑Not Employed
     attach a separate page with
     information about additional              Occupation                  Victim Justice Program Specialist
     employers.
                                               Employer's name             Department of Justice
     Include part time, seasonal, or
     self-employed work.
                                               Employer's address          PO Box 60000
     Occupation may include student                                         Number Street                                      Number Street
     or homemaker, if it applies.
                                                                           C/o USDA, National Finance Center




                                                                           New Orleans, LA 70160
                                                                            City                     State     Zip Code        City                    State      Zip Code
                                               How long employed there? 5 years



 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse unless you
     are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more space,
     attach a separate sheet to this form.

                                                                                                         For Debtor 1       For Debtor 2 or
                                                                                                                            non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.             2.               $10,716.55                     $0.00

 3. Estimate and list monthly overtime pay.                                                 3.   +                $0.00    +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                            4.               $10,716.55                     $0.00




Official Form 106I                                                           Schedule I: Your Income                                                                   page 1
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 Debtor 1                  Stacy                            Lynn                               Phillips                                        Case number (if known)
                            First Name                      Middle Name                         Last Name


                                                                                                                                    For Debtor 1       For Debtor 2 or
                                                                                                                                                       non-filing spouse
      Copy line 4 here....................................................................................➔            4.            $10,716.55                    $0.00
 5.   List all payroll deductions:
      5a. Tax, Medicare, and Social Security deductions                                                                5a.             $1,767.45                   $0.00
      5b. Mandatory contributions for retirement plans                                                                 5b.                $0.00                    $0.00
      5c. Voluntary contributions for retirement plans                                                                 5c.              $949.46                    $0.00
      5d. Required repayments of retirement fund loans                                                                 5d.               $66.90                    $0.00
      5e. Insurance                                                                                                    5e.              $933.58                    $0.00
      5f. Domestic support obligations                                                                                 5f.                $0.00                    $0.00
      5g. Union dues                                                                                                   5g.                $0.00                    $0.00

      5h. Other deductions. Specify: See additional page                                                               5h.   +          $109.85        +           $0.00
 6.   Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                      6.              $3,827.24                   $0.00
 7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                              7.              $6,889.31                   $0.00
 8.   List all other income regularly received:
      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross receipts,
            ordinary and necessary business expenses, and the total monthly net income.                                8a.             ($305.00)                   $0.00
      8b. Interest and dividends                                                                                       8b.                $0.00                    $0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                       8c.             $2,000.00                   $0.00
      8d. Unemployment compensation                                                                                    8d.                $0.00                    $0.00
      8e. Social Security                                                                                              8e.                $0.00                    $0.00
      8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                                                   8f.                $0.00                    $0.00
      8g. Pension or retirement income                                                                                 8g.                $0.00                    $0.00

      8h. Other monthly income. Specify:                                                                               8h.   +             $0.00       +           $0.00


 9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.              $1,695.00                    $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                         10.             $8,584.31   +                $0.00        =       $8,584.31

 11. State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
      friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

      Specify:                                                                                                                                                          11. +             $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                               12.          $8,584.31
                                                                                                                                                                                 Combined
                                                                                                                                                                                 monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
      ✔ No.
      ❑
      ❑Yes. Explain:

Official Form 106I                                                                                        Schedule I: Your Income                                                          page 2
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 Debtor 1            Stacy             Lynn            Phillips                         Case number (if known)
                     First Name        Middle Name      Last Name




                                                                                                                        Amount



   5h. Other Deductions For Debtor 1
        Dental                                                                                                            $85.28
        Vision                                                                                                            $24.57




Official Form 106I                                            Schedule I: Your Income                                     page 3
               Case 21-10085-KHK                      Doc 1     Filed 01/21/21 Entered 01/21/21 15:12:54                 Desc Main
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 Debtor 1               Stacy              Lynn                  Phillips                            Case number (if known)
                        First Name         Middle Name            Last Name


   8a. Attached Statement

                                                        Business Income- Nova Home Studies

   FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)
   PART A - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
        1.   Gross Monthly Income:                                                                                                      $0.00
   PART B - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:
        2.   Ordinary and necessary expense                                                                             $145.00
        3.   Net Employee Payroll (Other than debtor)                                                                       $0.00
        4.   Payroll Taxes                                                                                                  $0.00
        5.   Unemployment Taxes                                                                                             $0.00
        6.   Worker's Compensation                                                                                          $0.00
        7.   Other Taxes                                                                                                    $0.00
        8.   Inventory Purchases (Including raw materials)                                                                  $0.00
        9.   Purchase of Feed/Fertilizer/Seed/Spray                                                                         $0.00
        10. Rent (Other than debtor's principal residence)                                                                  $0.00
        11. Utilities                                                                                                       $0.00
        12. Office Expenses and Supplies                                                                                    $0.00
        13. Repairs and Maintenance                                                                                         $0.00
        14. Vehicle Expenses                                                                                                $0.00
        15. Travel and Entertainment                                                                                        $0.00
        16. Equipment Rental and Leases                                                                                     $0.00
        17. Legal/Accounting/Other Professional Fees                                                                        $0.00
        18. Insurance                                                                                                       $0.00
        19. Employee Benefits (e.g., pension, medical, etc.)                                                                $0.00
        20. Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition Business
            Debts
             TOTAL PAYMENTS TO SECURED CREDITORS                                                                            $0.00

        21. Other Expenses
             Other business expenses                                                                $160.00
             TOTAL OTHER EXPENSES                                                                                       $160.00
                                                                                                                                      $305.00
        22. TOTAL MONTHLY EXPENSES(Add item 2 - 21)
   PART C - ESTIMATED AVERAGE NET MONTHLY INCOME:
        23. AVERAGE NET MONTHLY INCOME(Subtract item 22 from item 1)                                                                 ($305.00)




Official Form 106I                                                       Schedule I: Your Income                                         page 4
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 Fill in this information to identify your case:

  Debtor 1                   Stacy                    Lynn                   Phillips
                             First Name              Middle Name            Last Name                                Check if this is:
  Debtor 2                                                                                                           ❑An amended filing
  (Spouse, if filing)        First Name              Middle Name            Last Name                                ❑A supplement showing postpetition
                                                                                                                         chapter 13 income as of the following date:
  United States Bankruptcy Court for the:                             Eastern District of Virginia

  Case number                                                                                                            MM / DD / YYYY
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ✔No. Go to line 2.
     ❑
     ❑Yes. Does Debtor 2 live in a separate household?
            ❑No
            ❑Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                        ❑No
     Do not list Debtor 1 and                      ✔Yes. Fill out this information for
                                                   ❑                                       Dependent's relationship to          Dependent's         Does dependent live
     Debtor 2.                                                                             Debtor 1 or Debtor 2                 age                 with you?
                                                      each dependent...............
     Do not state the dependents' names.                                                    Child                               16 years                  ✔Yes.
                                                                                                                                                     ❑No. ❑
                                                                                            Child                               15 years                  ✔Yes.
                                                                                                                                                     ❑No. ❑
                                                                                            Child                               13 years                  ✔Yes.
                                                                                                                                                     ❑No. ❑
                                                                                                                                                     ❑No. ❑Yes.
                                                                                                                                                     ❑No. ❑Yes.
 3. Do your expenses include expenses              ✔ No
                                                   ❑
    of people other than yourself and
    your dependents?
                                                   ❑Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a date after
 the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                      Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent for the
    ground or lot.                                                                                                                  4.                      $3,125.00


     If not included in line 4:
                                                                                                                                    4a.                         $0.00
     4a. Real estate taxes
                                                                                                                                    4b.                         $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                                    4c.                       $190.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                                    4d.                         $0.00
     4d. Homeowner's association or condominium dues




Official Form 106J                                                                      Schedule J: Your Expenses                                                         page 1
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 Debtor 1              Stacy                  Lynn                     Phillips                               Case number (if known)
                       First Name             Middle Name               Last Name


                                                                                                                              Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                   5.                          $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                           6a.                       $120.00

       6b. Water, sewer, garbage collection                                                                         6b.                       $175.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                           6c.                       $488.00

       6d. Other. Specify:                                                                                          6d.                         $0.00

 7.    Food and housekeeping supplies                                                                               7.                    $1,100.00

 8.    Childcare and children’s education costs                                                                     8.                        $200.00

 9.    Clothing, laundry, and dry cleaning                                                                          9.                         $49.81

 10. Personal care products and services                                                                            10.                       $125.00

 11.   Medical and dental expenses                                                                                  11.                       $440.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                   12.                       $340.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                             13.                       $100.00

 14. Charitable contributions and religious donations                                                               14.                         $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                    15a.                       $22.50
       15a. Life insurance
                                                                                                                    15b.                        $0.00
       15b. Health insurance
       15c. Vehicle insurance                                                                                       15c.                      $223.00

       15d. Other insurance. Specify:                Water Line Insurance                                           15d.                       $15.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify: Personal Property Tax                                                                               16.                        $62.00

 17. Installment or lease payments:
                                                                                                                    17a.                      $676.00
       17a. Car payments for Vehicle 1
                                                                                                                    17b.                        $0.00
       17b. Car payments for Vehicle 2
                                                                                                                    17c.                        $0.00
       17c. Other. Specify:
                                                                                                                    17d.                        $0.00
       17d. Other. Specify:

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.                         $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                     19.                         $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                             20a.                        $0.00
       20b. Real estate taxes                                                                                       20b.                        $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                            20c.                        $0.00
       20d. Maintenance, repair, and upkeep expenses                                                                20d.                        $0.00
       20e. Homeowner’s association or condominium dues                                                             20e.                        $0.00




Official Form 106J                                                                Schedule J: Your Expenses                                             page 2
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 Debtor 1              Stacy                Lynn                    Phillips                                Case number (if known)
                       First Name            Middle Name             Last Name



 21. Other. Specify:                      See Additional Page                                                     21.     +            $228.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                22a.               $7,679.31

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                   $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.               $7,679.31


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.               $8,584.31

      23b. Copy your monthly expenses from line 22c above.                                                        23b.    –          $7,679.31

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                                  23c.                $905.00
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ❑No.           Explain here:
      ✔Yes.
      ❑              Car insurance will increase by $365 per month, beginning in April 2021.




Official Form 106J                                                             Schedule J: Your Expenses                                         page 3
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                     First Name          Middle Name      Last Name




                                                                                                                                Amount


   21. Other
       Children's Activities                                                                                                      $75.00
       Pet Care                                                                                                                   $40.00
       Gym Membership                                                                                                             $40.00
       Home Security                                                                                                              $45.00
       Lawn Care- Trugreen Law Service                                                                                            $28.00




Official Form 106J                                                  Schedule J: Your Expenses                                       page 4
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 Fill in this information to identify your case:

  Debtor 1                   Stacy                 Lynn               Phillips
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Eastern District of Virginia

  Case number                                                                                                                            ❑    Check if this is an
  (if known)                                                                                                                                  amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                                  12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑Yes. Name of person                                                                . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
                                                                                         (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Stacy Lynn Phillips
        Stacy Lynn Phillips, Debtor 1


        Date 01/21/2021
                MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
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B2030 (Form 2030)(12/15)


                                                    United States Bankruptcy Court
                                                                    Eastern District of Virginia

In re
Phillips, Stacy Lynn                                                                                                    Case No.
Debtor(s)                                                                                                               Chapter         13


                                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
     rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
            For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . .                            $5,434.00
            Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . .                              $1,200.00
            Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              $4,234.00

2.   The source of the compensation to be paid to me was:
            ✔ Debtor
            ❑                                          ❑ Other (specify)
3.   The source of compensation to be paid to me is:
            ✔ Debtor
            ❑                                          ❑ Other (specify)
4.   ✔
     ❑   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates
     of my law firm.

     ❑   I have agreed to share the above-disclosed compensation with another person or persons who are not members or associates
     of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
     a.   Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
          bankruptcy;
     b.   Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
     c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                             CERTIFICATION

                           I certify that the foregoing is a complete statement of any agreement or arrangement for
                         payment to me for representation of the debtor(s) in this bankruptcy proceeding.

                         01/21/2021                                       /s/ Martin C. Conway
                         Date                                                 Signature of Attorney
                                                                                                                        Martin C. Conway
                                                                                                                       Bar Number: 34334
                                                                                                                   Conway Law Group, PC
                                                                                                              12934 Harbor Drive Suite 107
                                                                                                                    Woodbridge, VA 22192
                                                                                                                    Phone: (855) 848-3011

                                                                          Conway Law Group, PC
                                                                             Name of law firm
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 Fill in this information to identify your case:

  Debtor 1                   Stacy                 Lynn                Phillips
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Eastern District of Virginia

  Case number                                                                                                                          ❑   Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ❑ Married
    ✔ Not married
    ❑
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                               Dates Debtor 1 lived       Debtor 2:                                            Dates Debtor 2 lived
                                                              there                                                                           there


                                                                                       ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
                                                            From                                                                            From
    Number      Street                                                                     Number     Street
                                                            To                                                                              To



    City                               State ZIP Code                                      City                       State ZIP Code




                                                                                       ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
                                                            From                                                                            From
    Number      Street                                                                     Number     Street
                                                            To                                                                              To



    City                               State ZIP Code                                      City                       State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and territories
  include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 1
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Debtor 1            Stacy                Lynn                     Phillips                                            Case number (if known)
                    First Name           Middle Name              Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross Income                  Sources of income             Gross Income
                                                    Check all that apply.         (before deductions and        Check all that apply.         (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the       ❑ Wages, commissions,                                       ❑ Wages, commissions,
    date you filed for bankruptcy:                     bonuses, tips                                               bonuses, tips
                                                   ✔ Operating a business
                                                   ❑                                               $0.00       ❑Operating a business

    For last calendar year:                        ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                        $116,097.57            bonuses, tips
    (January 1 to December 31, 2020         )
                                     YYYY          ✔ Operating a business
                                                   ❑                                         ($5,256.00)       ❑Operating a business

    For the calendar year before that:             ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                         $98,673.00            bonuses, tips
    (January 1 to December 31, 2019         )
                                     YYYY          ✔ Operating a business
                                                   ❑                                         (19,890.00)       ❑Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public benefit
  payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case and you
  have income that you received together, list it only once under Debtor 1.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross income from each        Sources of income             Gross Income from each
                                                    Describe below.               source                        Describe below.               source
                                                                                  (before deductions and                                      (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the
    date you filed for bankruptcy:




    For last calendar year:
    (January 1 to December 31, 2020         )
                                     YYYY




    For the calendar year before that:
    (January 1 to December 31, 2019         )
                                     YYYY




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 2
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Debtor 1            Stacy                     Lynn                 Phillips                                              Case number (if known)
                    First Name                Middle Name           Last Name
 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
              individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

              ❑No. Go to line 7.
              ❑Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you paid that
                            creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                            payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔Yes.
    ❑         Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ❑No. Go to line 7.
              ✔Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
              ❑
                            payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                            this bankruptcy case.

                                                              Dates of             Total amount paid           Amount you still owe        Was this payment for…
                                                              payment

                                                                                                                                         ✔ Mortgage
                                                                                                                                         ❑
             Freedom Mortgage Corporation                     10/01/2020                       $9,375.00                  $418,368.00
             Creditor's Name                                                                                                             ❑Car
             Attn: Bankruptcy                                 11/01/2020                                                                 ❑Credit card
             907 Pleasant Valley Ave Ste 3                                                                                               ❑Loan repayment
                                                                                                                                         ❑Suppliers or vendors
             Number         Street                            12/01/2020

             Mount Laurel, NJ 08054                                                                                                      ❑Other
             City                     State      ZIP Code


                                                                                                                                         ❑Mortgage
             Apple Fcu
             Creditor's Name
                                                              10/01/2020                       $2,028.00                    $17,451.00
                                                                                                                                         ✔ Car
                                                                                                                                         ❑
             Attn: Bankruptcy Dept                            11/01/2020                                                                 ❑Credit card
             4097 Monument Corner Drive                                                                                                  ❑Loan repayment
                                                                                                                                         ❑Suppliers or vendors
             Number         Street                            12/01/2020

             Fairfax, VA 22030                                                                                                           ❑Other
             City                     State      ZIP Code


                                                                                                                                         ❑Mortgage
             Citibank                                         10/01/2020                       $1,242.00                    $14,925.00
             Creditor's Name                                                                                                             ❑Car
             Citicorp Credit Srvs/Centralized Bk dept         11/01/2020                                                                 ✔ Credit card
                                                                                                                                         ❑
             PO Box 790034                                                                                                               ❑Loan repayment
                                                                                                                                         ❑Suppliers or vendors
             Number         Street                            12/01/2020

             St Louis, MO 63179                                                                                                          ❑Other
             City                     State      ZIP Code




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 3
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Debtor 1            Stacy                    Lynn                 Phillips                                         Case number (if known)
                    First Name               Middle Name           Last Name

                                                             Dates of            Total amount paid         Amount you still owe       Was this payment for…
                                                             payment

                                                                                                                                     ❑Mortgage
             Discover Financial                              10/01/2020                      $1,143.00                 $19,014.00
             Creditor's Name                                                                                                         ❑Car
             PO Box 3025                                     11/01/2020                                                              ✔ Credit card
                                                                                                                                     ❑
             Number         Street
                                                                                                                                     ❑Loan repayment
                                                                                                                                     ❑Suppliers or vendors
                                                             12/01/2020
             New Albany, OH 43054-0000
                                                                                                                                     ❑Other
             City                    State      ZIP Code



                                                                                                                                     ❑Mortgage
             Freedom Plus                                    10/01/2020                      $1,214.00                 $21,056.00
             Creditor's Name                                                                                                         ❑Car
             Attn: Bankruptcy                                11/01/2020                                                              ❑Credit card
             PO Box 2340                                                                                                             ✔Loan repayment
                                                                                                                                     ❑
             Number         Street                                                                                                   ❑Suppliers or vendors
             Phoenix, AZ 85002-2340                                                                                                  ❑Other
             City                    State      ZIP Code


                                                                                                                                     ❑Mortgage
             Synchrony Bank/Amazon                           10/01/2020                      $1,318.00                  $5,035.00
             Creditor's Name                                                                                                         ❑Car
             Attn: Bankruptcy                                11/01/2020                                                              ✔ Credit card
                                                                                                                                     ❑
             PO Box 965060                                                                                                           ❑Loan repayment
                                                                                                                                     ❑Suppliers or vendors
             Number         Street                           12/01/2020

             Orlando, FL 32896-5060                                                                                                  ❑Other
             City                    State      ZIP Code


                                                                                                                                     ❑Mortgage
             Amex                                            12/01/2020                       $810.00                   $6,159.00
             Creditor's Name                                                                                                         ❑Car
             PO Box 981540                                   11/01/2020                                                              ✔ Credit card
                                                                                                                                     ❑
             Number         Street
                                                                                                                                     ❑Loan repayment
                                                                                                                                     ❑Suppliers or vendors
                                                             10/01/2020
             El Paso, TX 79998
                                                                                                                                     ❑Other
             City                    State      ZIP Code



                                                                                                                                     ❑Mortgage
             CARE CREDIT/SYNCHRONY BANK                      01/18/2021                      $1,260.00                       $0.00
             Creditor's Name                                                                                                         ❑Car
             ATTN: BANKRUPTCY DEPT                                                                                                   ✔ Credit card
                                                                                                                                     ❑
             PO BOX 965061                                                                                                           ❑Loan repayment
             Number         Street                                                                                                   ❑Suppliers or vendors
             ORLANDO, FL 32896-0000                                                                                                  ❑Other
             City                    State      ZIP Code


                                                                                                                                     ❑Mortgage
             CAPITAL ONE                                     01/18/2021                      $1,825.00                       $0.00
             Creditor's Name                                                                                                         ❑Car
             ATTN: BANKRUPTCY                                                                                                        ✔ Credit card
                                                                                                                                     ❑
             PO BOX 30285                                                                                                            ❑Loan repayment
             Number         Street                                                                                                   ❑Suppliers or vendors
             SALT LAKE CITY, UT 84130-0000                                                                                           ❑Other
             City                    State      ZIP Code




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Debtor 1            Stacy                        Lynn                 Phillips                                          Case number (if known)
                    First Name                   Middle Name              Last Name

                                                                  Dates of              Total amount paid        Amount you still owe       Was this payment for…
                                                                  payment

                                                                                                                                          ❑Mortgage
              Kohls / Capital One                                01/18/2021                        $1,254.00                     $0.00
             Creditor's Name                                                                                                              ❑Car
              N56 W 17000 RIDGEWOOD DR                                                                                                    ✔ Credit card
                                                                                                                                          ❑
             Number         Street
                                                                                                                                          ❑Loan repayment
              MENOMONEE FALLS, WI 53051-0000                                                                                              ❑Suppliers or vendors
                                                                                                                                          ❑Other
             City                        State      ZIP Code




  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an
  officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you operate as a sole
  proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑Yes. List all payments to an insider.
                                                               Dates of               Total amount paid   Amount you still owe   Reason for this payment
                                                               payment



    Insider's Name


    Number      Street




    City                         State      ZIP Code




  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑Yes. List all payments that benefited an insider.
                                                               Dates of               Total amount paid   Amount you still owe   Reason for this payment
                                                               payment                                                           Include creditor’s name



    Insider's Name


    Number      Street




    City                         State      ZIP Code




Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 5
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Debtor 1            Stacy                  Lynn                    Phillips                                             Case number (if known)
                    First Name             Middle Name              Last Name
 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and contract
  disputes.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                      Nature of the case                         Court or agency                                  Status of the case

    Case title                                                                                                                                   ❑Pending
                                                                                                Court Name                                       ❑On appeal
                                                                                                                                                 ❑Concluded
                                                                                                Number       Street
    Case number

                                                                                                City                      State       ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔No. Go to line 11.
    ❑
    ❑Yes. Fill in the information below.
                                                                    Describe the property                                      Date                 Value of the property



    Creditor’s Name


    Number       Street                                             Explain what happened

                                                                   ❑Property was repossessed.
                                                                   ❑Property was foreclosed.
                                                                   ❑Property was garnished.
    City                          State    ZIP Code                ❑Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or refuse
  to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                            Describe the action the creditor took                            Date action was      Amount
                                                                                                                             taken
    Creditor’s Name


    Number       Street



    City                         State     ZIP Code
                                                           Last 4 digits of account number: XXXX–




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                 page 6
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Debtor 1             Stacy                   Lynn                   Phillips                                         Case number (if known)
                     First Name              Middle Name             Last Name



  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-appointed
  receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift.
     Gifts with a total value of more than $600 per          Describe the gifts                                          Dates you gave       Value
     person                                                                                                              the gifts



    Person to Whom You Gave the Gift




    Number      Street



    City                             State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities that       Describe what you contributed                                   Date you              Value
     total more than $600                                                                                           contributed



    Charity’s Name




    Number      Street



    City                     State    ZIP Code




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Debtor 1            Stacy                Lynn                     Phillips                                        Case number (if known)
                    First Name           Middle Name               Last Name
 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
     Describe the property you lost and         Describe any insurance coverage for the loss                    Date of your loss      Value of property lost
     how the loss occurred                      Include the amount that insurance has paid. List pending
                                                insurance claims on line 33 of Schedule A/B: Property.




 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted about
  seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                  Description and value of any property transferred              Date payment or       Amount of payment
     Conway Law Group, PC                                                                                        transfer was made
    Person Who Was Paid                          Attorney’s Fee
                                                                                                                12/15/2020                          $1,200.00
     12934 Harbor Drive Suite 107
    Number     Street




    Woodbridge, VA 22192
    City                    State   ZIP Code


    Email or website address
     Debtor
    Person Who Made the Payment, if Not You


                                                  Description and value of any property transferred              Date payment or       Amount of payment
     Conway Law Group PC                                                                                         transfer was made
    Person Who Was Paid                          Filing Fee and Costs
                                                                                                                12/11/2020                           $350.00
     12934 Harbor Drive
    Number     Street




    Woodbridge, VA 22192
    City                    State   ZIP Code


    Email or website address
     Debtor
    Person Who Made the Payment, if Not You




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Debtor 1            Stacy                Lynn                  Phillips                                           Case number (if known)
                    First Name           Middle Name            Last Name

                                                Description and value of any property transferred               Date payment or         Amount of payment
     Abacus Credit Counseling                                                                                   transfer was made
    Person Who Was Paid                         Credit Counseling
                                                                                                               12/11/2020                              $25.00
     17337 Ventura Blvd. Ste. 205
    Number     Street




     Encino, CA 91316
    City                    State   ZIP Code


    Email or website address
     Debtor
    Person Who Made the Payment, if Not You




  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to help you
  deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                Description and value of any property transferred               Date payment or         Amount of payment
                                                                                                                transfer was made
    Person Who Was Paid



    Number     Street




    City                    State   ZIP Code




  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                 Description and value of property          Describe any property or payments received       Date transfer was
                                                 transferred                                or debts paid in exchange                        made

    Person Who Received Transfer


    Number     Street




    City                    State   ZIP Code

    Person's relationship to you




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 9
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Debtor 1            Stacy                Lynn                   Phillips                                          Case number (if known)
                    First Name           Middle Name            Last Name



  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?(These are
  often called asset-protection devices.)

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                Description and value of the property transferred                                            Date transfer was
                                                                                                                                             made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved, or
  transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension funds,
  cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                Last 4 digits of account number           Type of account or       Date account was            Last balance
                                                                                          instrument               closed, sold, moved, or     before closing or
                                                                                                                   transferred                 transfer

    Name of Financial Institution
                                                XXXX–                                     ❑Checking
                                                                                          ❑Savings
    Number      Street
                                                                                          ❑Money market
                                                                                          ❑Brokerage
                                                                                          ❑Other
    City                    State   ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                  Who else had access to it?                     Describe the contents                          Do you still have
                                                                                                                                                it?

                                                                                                                                              ❑No
    Name of Financial Institution               Name
                                                                                                                                              ❑Yes

    Number      Street                          Number      Street



                                                City                  State    ZIP Code

    City                    State   ZIP Code




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Debtor 1            Stacy                 Lynn                     Phillips                                              Case number (if known)
                    First Name            Middle Name               Last Name



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                    Who else has or had access to it?                 Describe the contents                              Do you still have
                                                                                                                                                         it?

                                                                                                                                                       ❑No
    Name of Storage Facility                       Name
                                                                                                                                                       ❑Yes

    Number     Street                              Number      Street



                                                   City                   State    ZIP Code

    City                    State   ZIP Code




 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                    Where is the property?                            Describe the property                              Value


    Owner's Name
                                                   Number      Street


    Number     Street

                                                   City                   State    ZIP Code


    City                    State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic substances, wastes,
      or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the cleanup of these substances,
      wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate, or utilize it,
      including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant,
      contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑Yes. Fill in the details.



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Debtor 1            Stacy                Lynn                     Phillips                                      Case number (if known)
                    First Name           Middle Name              Last Name

                                                 Governmental unit                       Environmental law, if you know it                  Date of notice


    Name of site                                Governmental unit



    Number       Street                         Number       Street


                                                City                  State   ZIP Code


    City                    State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                 Governmental unit                       Environmental law, if you know it                  Date of notice


    Name of site                                Governmental unit



    Number       Street                         Number       Street


                                                City                  State   ZIP Code


    City                    State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                 Court or agency                         Nature of the case                                Status of the case


    Case title
                                                Court Name
                                                                                                                                           ❑Pending
                                                                                                                                           ❑On appeal
                                                                                                                                           ❑Concluded
                                                Number       Street


    Case number
                                                City                  State   ZIP Code




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 12
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Debtor 1             Stacy                  Lynn                      Phillips                                             Case number (if known)
                     First Name             Middle Name               Last Name
 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ✔ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑
           ❑ A partner in a partnership
           ✔ An officer, director, or managing executive of a corporation
           ❑
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ❑No. None of the above applies. Go to Part 12.
    ✔Yes. Check all that apply above and fill in the details below for each business.
    ❑
                                                      Describe the nature of the business                          Employer Identification number
     NOVA Home Studies                                                                                             Do not include Social Security number or ITIN.
    Name
                                                                                                                    EIN:   8   1 – 5    1     1   4   9   8   8
     5267 Quebec Place
    Number        Street
                                                      Name of accountant or bookkeeper                             Dates business existed
                                                     n/a
     Woodbridge, VA 22193                                                                                           From 2017            To
    City                     State    ZIP Code




  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions, creditors,
  or other parties.

    ✔ No
    ❑
    ❑Yes. Fill in the details below.
                                                       Date issued



    Name                                             MM / DD / YYYY



    Number        Street




    City                     State    ZIP Code




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 13
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Debtor 1           Stacy                  Lynn                 Phillips                                        Case number (if known)
                   First Name             Middle Name           Last Name




Part 12: Sign Below


 I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true and
 correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
 can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




   ✘ /s/ Stacy Lynn Phillips
       Signature of Stacy Lynn Phillips, Debtor 1


       Date 01/21/2021




 Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

   ✔ No
   ❑
   ❑Yes
 Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
                                                                                                     Attach the Bankruptcy Petition Preparer’s Notice,
   ❑Yes. Name of person                                                                              Declaration, and Signature (Official Form 119).
                 Case 21-10085-KHK                     Doc 1       Filed 01/21/21 Entered 01/21/21 15:12:54                                     Desc Main
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 Fill in this information to identify your case:                                                                            Check as directed in lines 17 and 21:
                                                                                                                            According to the calculations required by this
  Debtor 1                   Stacy                  Lynn               Phillips                                             Statement:

                                                                                                                            ❑1. Disposable income is not determined
                             First Name            Middle Name         Last Name

  Debtor 2                                                                                                                     under 11 U.S.C. § 1325(b)(3).
  (Spouse, if filing)        First Name            Middle Name         Last Name                                            ✔2. Disposable income is determined
                                                                                                                            ❑
                                                                                                                               under 11 U.S.C. § 1325(b)(3).
  United States Bankruptcy Court for the:                        Eastern District of Virginia
                                                                                                                            ❑3. The commitment period is 3 years.
                                                                                                                            ✔4. The commitment period is 5 years.
  Case number
  (if known)                                                                                                                ❑
                                                                                                                            ❑Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                                    04/20
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach a
separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known).



 Part 1: Calculate Your Average Monthly Income

 1.   What is your marital and filing status? Check one only.
      ✔ Not married. Fill out Column A, lines 2-11.
      ❑
      ❑ Married. Fill out both Columns A and B, lines 2-11.
  Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
  101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the
  6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses own
  the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                                 Column A               Column B
                                                                                                                 Debtor 1               Debtor 2 or
                                                                                                                                        non-filing spouse

 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all                                    $10,716.54
    payroll deductions).

 3. Alimony and maintenance payments. Do not include payments from a spouse.                                           $2,000.00

 4. All amounts from any source which are regularly paid for household expenses of you or your
    dependents, including child support. Include regular contributions from an unmarried partner,
    members of your household, your dependents, parents, and roommates. Do not include payments
    from a spouse. Do not include payments you listed on line 3.                                                             $0.00


 5. Net income from operating a business, profession, or
    farm                                                                Debtor 1          Debtor 2
                                                                           $453.83              $0.00
      Gross receipts (before all deductions)

      Ordinary and necessary operating expenses
                                                                   -       $373.83    -         $0.00

                                                                            $80.00              $0.00   Copy
      Net monthly income from a business, profession, or farm                                                               $80.00
                                                                                                        here →


 6. Net income from rental and other real property                      Debtor 1          Debtor 2
                                                                              $0.00             $0.00
      Gross receipts (before all deductions)

      Ordinary and necessary operating expenses
                                                                   -          $0.00   -         $0.00

                                                                             $0.00              $0.00   Copy
      Net monthly income from rental or other real property                                                                  $0.00
                                                                                                        here →



 Official Form 122C-1                          Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                  page 1
                   Case 21-10085-KHK                                           Doc 1               Filed 01/21/21 Entered 01/21/21 15:12:54                          Desc Main
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Debtor 1                     Stacy                              Lynn                                      Phillips                               Case number (if known)
                             First Name                          Middle Name                              Last Name
                                                                                                                                Column A                    Column B
                                                                                                                                Debtor 1                    Debtor 2 or
                                                                                                                                                            non-filing spouse
 7. Interest, dividends, and royalties                                                                                                            $0.00

 8. Unemployment compensation                                                                                                                     $0.00
    Do not enter the amount if you contend that the amount received was a benefit under the Social
    Security Act. Instead, list it here: ..................................................                ↓
           For you....................................................................................                $0.00
           For your spouse......................................................................

 9. Pension or retirement income. Do not include any amount received that was a benefit under                                                     $0.00
    the Social Security Act. Also, except as stated in the next sentence, do not include any
    compensation, pension, pay, annuity, or allowance paid by the United States Government in
    connection with a disability, combat-related injury or disability, or death of a member of the
    uniformed services. If you received any retired pay paid under chapter 61 of title 10, then
    include that pay only to the extent that it does not exceed the amount of retired pay to which you
    would otherwise be entitled if retired under any provision of title 10 other than chapter 61 of that
    title.

10. Income from all other sources not listed above. Specify the source and amount. Do not
    include any benefits received under the Social Security Act; payments made under the
    Federal law relating to the national emergency declared by the President under the National
    Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the coronavirus disease 2019
    (COVID-19); payments received as a victim of a war crime, a crime against humanity, or
    international or domestic terrorism; or compensation, pension, pay, annuity, or allowance paid
    by the United States Government in connection with a disability, combat-related injury or
    disability, or death of a member of the uniformed services. If necessary, list other sources on
    a separate page and put the total below.




    Total amounts from separate pages, if any.                                                                                 +                             +
                                                                                                                                             $12,796.54                             =      $12,796.54
 11. Calculate your total average monthly income. Add lines 2 through 10 for each                                                                            +
     column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                                        Total average
                                                                                                                                                                                        monthly income

Part 2: Determine How to Measure Your Deductions from Income

12. Copy your total average monthly income from line 11. .................................................................................                                                   $12,796.54

13. Calculate the marital adjustment. Check one:

   ✔You are not married. Fill in 0 below.
   ❑
   ❑You are married and your spouse is filing with you. Fill in 0 below.
   ❑You are married and your spouse is not filing with you.
       Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
       dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than you or your dependents.
       Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
       adjustments on a separate page.
       If this adjustment does not apply, enter 0 below.




                                                                                                                         +

       Total...........................................................................................                                $0.00
                                                                                                                                                    Copy here. →
                                                                                                                                                                                -              $0.00

14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                                $12,796.54




Official Form 122C-1                                           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                          page 2
                    Case 21-10085-KHK                                         Doc 1              Filed 01/21/21 Entered 01/21/21 15:12:54                                                              Desc Main
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Debtor 1                     Stacy                              Lynn                                 Phillips                                                                      Case number (if known)
                             First Name                         Middle Name                           Last Name

15. Calculate your current monthly income for the year. Follow these steps:

        15a. Copy line 14 here →...............................................................................................................................................................                         $12,796.54

               Multiply line 15a by 12 (the number of months in a year).                                                                                                                                         x 12
                                                                                                                                                                                                                   $153,558.48
        15b. The result is your current monthly income for the year for this part of the form.....................................................................

16. Calculate the median family income that applies to you. Follow these steps:
        16a. Fill in the state in which you live.                                                                                    Virginia
        16b. Fill in the number of people in your household.                                                                              4

        16c. Fill in the median family income for your state and size of household. ....................................................................................                                            $114,910.00
               To find a list of applicable median income amounts, go online using the link specified in the separate
               instructions for this form. This list may also be available at the bankruptcy clerk’s office.

17. How do the lines compare?

        17a.     ❑      Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under 11 U.S.C. §
                        1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C–2).
        17b.     ✔
                 ❑      Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. § 1325(b)(3). Go
                        to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C–2). On line 39 of that form, copy your current monthly income
                        from line 14 above.
Part 3: Calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)

18. Copy your total average monthly income from line 11. ..........................................................................................................                                                     $12,796.54
19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend that calculating the
    commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s income, copy the amount from line 13.
   19a. If the marital adjustment does not apply, fill in 0 on line 19a. .....................................................................................................                               -              $0.00
   19b. Subtract line 19a from line 18.                                                                                                                                                                             $12,796.54

20. Calculate your current monthly income for the year. Follow these steps.

   20a. Copy line 19b.............................................................................................................................................................................                      $12,796.54
           Multiply by 12 (the number of months in a year).                                                                                                                                                 x 12
                                                                                                                                                                                                                   $153,558.48
   20b. The result is your current monthly income for the year for this part of the form.

                                                                                                                                                                                                                    $114,910.00
   20c. Copy the median family income for your state and size of household from line 16c. ...............................................................

21. How do the lines compare?

   ❑     Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3,
         The commitment period is 3 years. Go to Part 4.
   ✔
   ❑     Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
         check box 4, The commitment period is 5 years. Go to Part 4.

Part 4: Sign Below

    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.


          ✘ /s/ Stacy Lynn Phillips
                 Signature of Debtor 1

                 Date 01/21/2021
                           MM/ DD/ YYYY

    If you checked 17a, do NOT fill out or file Form 122C–2.
    If you checked 17b, fill out Form 122C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.



Official Form 122C-1                                          Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                     page 3
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Fill in this information to identify your case:

 Debtor 1                   Stacy                 Lynn                Phillips
                            First Name            Middle Name        Last Name

 Debtor 2
 (Spouse, if filing)        First Name            Middle Name        Last Name

 United States Bankruptcy Court for the:                        Eastern District of Virginia

 Case number                                                                                                                              ❑     Check if this is an
 (if known)                                                                                                                                     amended filing


Official Form 122C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                                          04/19
To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period (Official
Form 122C–1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach
a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known).



Part 1: Calculate Your Deductions from Your Income


 The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to answer the questions in lines
 6-15. To find the IRS standards, go online using the link specified in the separate instructions for this form. This information may also be available at the
 bankruptcy clerk’s office.


 Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your actual expenses if they are higher
 than the standards. Do not include any operating expenses that you subtracted from income in lines 5 and 6 of Form 122C–1, and do not deduct any amounts that you
 subtracted from your spouse’s income in line 13 of Form 122C–1.



 If your expenses differ from month to month, enter the average expense.



 Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.




  5. The number of people used in determining your deductions from income
      Fill in the number of people who could be claimed as exemptions on your federal income tax return, plus the number of
                                                                                                                                            4
      any additional dependents whom you support. This number may be different from the number of people in your household.




    National
    Standards                You must use the IRS National Standards to answer the questions in lines 6-7.




  6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National Standards, fill                                           $1,740.00
     in the dollar amount for food, clothing, and other items.


  7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in the dollar
     amount for out-of-pocket health care. The number of people is split into two categories─people who are under 65 and people who are 65 or
     older─because older people have a higher IRS allowance for health care costs. If your actual expenses are higher than this IRS amount, you
     may deduct the additional amount on line 22.




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Debtor 1                     Stacy                            Lynn                                Phillips                                                           Case number (if known)
                             First Name                       Middle Name                          Last Name



        People who are under 65 years of age

        7a. Out-of-pocket health care allowance per person                                                                $56.00
        7b. Number of people who are under 65                                                                  X          4
                                                                                                                                                            Copy
        7c. Subtotal. Multiply line 7a by line 7b.                                                                      $224.00                                              $224.00
                                                                                                                                                            here →

        People who are 65 years of age or older

        7d. Out-of-pocket health care allowance per person                                                              $125.00
        7e. Number of people who are 65 or older                                                               X          0
                                                                                                                                                            Copy       +           $0.00
        7f.     Subtotal. Multiply line 7d by line 7e.                                                                      $0.00
                                                                                                                                                            here →

     7g.      Total. Add lines 7c and 7f. ...............................................................................................................                    $224.00       Copy here →....   $224.00


     Local
     Standards          You must use the IRS Local Standards to answer the questions in lines 8-15.

Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
bankruptcy purposes into two parts:

     Housing and utilities – Insurance and operating expenses
     Housing and utilities – Mortgage or rent expenses

To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link
specified in the separate instructions for this form. This chart may also be available at the bankruptcy clerk’s office.

8.     Housing and utilities – Insurance and operating expenses: Using the number of people you entered in line 5, fill in                                                                                   $722.00
       the dollar amount listed for your county for insurance and operating expenses.
9.     Housing and utilities – Mortgage or rent expenses:
        9a. Using the number of people you entered in line 5, fill in the dollar amount                                                                               $2,251.00
            listed for your county for mortgage or rent expenses.
        9b. Total average monthly payment for all mortgages and other debts secured by
            your home.

              To calculate the total average monthly payment, add all amounts that are
              contractually due to each secured creditor in the 60 months after you file for
              bankruptcy. Next divide by 60.

                 Name of the creditor                                                                  Average monthly
                                                                                                       payment

               Freedom Mortgage Corporation                                                                             $3,125.00
               Konstantin and Fotini Bakkalapulo                                                                          $250.76

                                                                                                           +
                                                                                                                                              Copy                                 Repeat this amount
                            9b. Total average monthly payment                                                    $3,375.76                                    –      $3,375.76
                                                                                                                                              here →                               on line 33a.

       9c. Net mortgage or rent expense.
           Subtract line 9b (total average monthly payment) from line 9a (mortgage or rent expense). If this
                                                                                                                                                                           $0.00      Copy here →.....         $0.00
           number is less than $0, enter $0.

10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects                                                                                       $0.00
    the calculation of your monthly expenses, fill in any additional amount you claim.
           Explain
           why:




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                       First Name               Middle Name                  Last Name



 11.   Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
       ❑     0. Go to line 14.
       ❑     1. Go to line 12.
       ✔
       ❑     2 or more. Go to line 12.

 12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the operating expenses, fill in                       $464.00
     the Operating Costs that apply for your Census region or metropolitan statistical area.

 13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
     You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
     more than two vehicles.


           Vehicle 1      Describe Vehicle 1:      2015 Dodge Durango


                                                                                                                           $521.00
       13a. Ownership or leasing costs using IRS Local Standard.......................................
       13b. Average monthly payment for all debts secured by Vehicle 1.
             Do not include costs for leased vehicles.
             To calculate the average monthly payment here and on line 13e, add all amounts
             that are contractually due to each secured creditor in the 60 months after you
             file for bankruptcy. Then divide by 60.
             Name of each creditor for Vehicle 1                      Average monthly
                                                                      payment
             Apple Fcu                                                               $319.34

                                                                      +
                                                                                       $319.34       Copy                         Repeat this amount
                                 Total average monthly payment                                       here →       –       $319.34 on line 33b.
       13c. Net Vehicle 1 ownership or lease expense
                                                                                                                          $201.66 Copy net Vehicle 1
             Subtract line 13b from line 13a. If this number is less than $0, enter $0.............                               expense here →               $201.66



           Vehicle 2      Describe Vehicle 2:      2000 Toyota Sienna



       13d. Ownership or leasing costs using IRS Local Standard.......................................                $521.00
       13e. Average monthly payment for all debts secured by Vehicle 2.
             Do not include costs for leased vehicles.
              Name of each creditor for Vehicle 2                     Average monthly
                                                                      payment



                                                                      +
                                                                                         $0.00           Copy                     Repeat this amount
                                 Total average monthly payment                                           here →   –         $0.00 on line 33c.
       13f. Net Vehicle 2 ownership or lease expense
                                                                                                                          $521.00 Copy net Vehicle 2
            Subtract line 13e from 13d. If this number is less than $0, enter $0.............                                     expense here →               $521.00



 14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public Transportation
     expense allowance regardless of whether you use public transportation.


 15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also deduct a public
     transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim more than the IRS Local Standard for               $0.00
     Public Transportation.




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                     First Name             Middle Name              Last Name



  Other Necessary              In addition to the expense deductions listed above, you are allowed your monthly expenses for the
  Expenses                     following IRS categories.

16. Taxes: The total monthly amount that you actually pay for federal, state and local taxes, such as income taxes, self-employment taxes, social                                       $226.44
    security taxes, and Medicare taxes. You may include the monthly amount withheld from your pay for these taxes. However, if you expect to receive a
    tax refund, you must divide the expected refund by 12 and subtract that number from the total monthly amount that is withheld to pay for taxes.
    Do not include real estate, sales, or use taxes.

17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions, union dues, and uniform                                        $0.00
    costs.
    Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.

18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing together, include                                         $41.88
    payments that you make for your spouse’s term life insurance.
    Do not include premiums for life insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of life insurance other
    than term.

19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative agency, such as spousal                                           $0.00
    or child support payments.
    Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

20. Education: The total monthly amount that you pay for education that is either required:                                                                                               $0.00
      as a condition for your job, or
      for your physically or mentally challenged dependent child if no public education is available for similar services.

21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.                                                               $200.00
    Do not include payments for any elementary or secondary school education.

22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that is required for the health                                           $0.00
    and welfare of you or your dependents and that is not reimbursed by insurance or paid by a health savings account. Include only the amount that is
    more than the total entered in line 7.
    Payments for health insurance or health savings accounts should be listed only in line 25.

23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for you and your                                             +        $0.00
    dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone service, to the extent necessary for
    your health and welfare or that of your dependents or for the production of income, if it is not reimbursed by your employer.
    Do not include payments for basic home telephone, internet or cell phone service. Do not include self-employment expenses, such as those
    reported on line 5 of Form 122C-1, or any amount you previously deducted.

24. Add all of the expenses allowed under the IRS expense allowances.                                                                                                                 $4,340.98
    Add lines 6 through 23.

  Additional Expense           These are additional deductions allowed by the Means Test.
  Deductions                   Note: Do not include any expense allowances listed in lines 6-24.

25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health insurance, disability
    insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your dependents.

      Health insurance                                           $891.69
      Disability insurance                                         $0.00
      Health savings account                           +           $0.00
      Total                                                      $891.69       Copy total here → ........................................................................               $891.69
     Do you actually spend this total amount?

     ❑No. How much do you actually spend?
     ✔Yes
     ❑
26. Continuing contributions to the care of household or family members.                                                                                                                  $0.00
    The actual monthly expenses that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or
    disabled member of your household or member of your immediate family who is unable to pay for such expenses. These expenses may include
    contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).

27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of you and your family                                            $0.00
    under the Family Violence Prevention and Services Act or other federal laws that apply.
    By law, the court must keep the nature of these expenses confidential.




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                         First Name                      Middle Name                         Last Name



28.   Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
      If you believe that you have home energy costs that are more than the home energy costs included in expenses on line 8, then fill in the excess
      amount of home energy costs                                                                                                                                                                 $0.00
      You must give your case trustee documentation of your actual expenses, and you must show that the additional amount claimed is reasonable
      and necessary.

29.   Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $170.83* per child) that you                                                       $511.00
      pay for your dependent children who are younger than 18 years old to attend a private or public elementary or secondary school.
      You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is reasonable and
      necessary and not already accounted for in lines 6-23.
      * Subject to adjustment on 4/01/22, and every 3 years after that for cases begun on or after the date of adjustment.

30.   Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher than the combined                                                      $60.00
      food and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of the food and clothing allowances in the
      IRS National Standards.
      To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for this form. This
      chart may also be available at the bankruptcy clerk’s office.
      You must show that the additional amount claimed is reasonable and necessary.

31.   Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial instruments to a                                              +       $0.00
      religious or charitable organization. 11 U.S.C. § 548(d)3 and (4).
      Do not include any amount more than 15% of your gross monthly income.

32.   Add all of the additional expense deductions.                                                                                                                                           $1,462.69
      Add lines 25 through 31.

 Deductions for Debt Payment

33.   For debts that are secured by an interest in property that you own, including home mortgages, vehicle loans, and other
      secured debt, fill in lines 33a through 33e.
      To calculate the total average monthly payment, add all amounts that are contractually due to each secured creditor in the 60
      months after you file for bankruptcy. Then divide by 60.
                                                                                                                                                     Average monthly
                                                                                                                                                     payment

       Mortgages on your home
                                                                                                                                                                 $3,375.76
       33a. Copy line 9b here .....................................................................................................→

       Loans on your first two vehicles
                                                                                                                                                                   $319.34
       33b. Copy line 13b here ..................................................................................................→
                                                                                                                                                                     $0.00
       33c. Copy line 13e here ..................................................................................................→

       33d. List other secured debts:

           Name of each creditor for other                                Identify property that secures the debt                      Does payment
           secured debt                                                                                                                include taxes or
                                                                                                                                       insurance?

                                                                          Household goods and furnishings:
                                                                          Kitchen/dining room table, 4 chairs,
                                                                          dishes, utensils, cookware, dining room
                                                                          cabinet, clothes washer and dryer;
                                                                          Living/family room table, sofa and TV
                                                                          stand; Bedroom table, 7 dressers, bed,
                                                                          vacuum, sheets, towels, blankets 2                           ✔ No
                                                                                                                                       ❑
       Synchrony/Ashley Furniture Homestore                               chairs and 4 lamps.                                          ❑ Yes                     $131.00

                                                                                                                                       ❑ No
                                                                                                                                       ❑ Yes
                                                                                                                                       ❑ No
                                                                                                                                       ❑ Yes              +
Official Form 122C-2                                                            Chapter 13 Calculation of Your Disposable Income                                                                      page 5
                                                                                                                                                               $3,826.10     Copy total
       33e. Total average monthly payment. Add lines 33a through 33d. ...................................                                                                                     $3,826.10
                                                                                                                                                                             here→
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                            First Name                        Middle Name                           Last Name



 34.   Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property necessary for your support or the
       support of your dependents?

       ❑No. Go to line 35.
       ✔Yes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep possession of your
       ❑
           property (called the cure amount). Next, divide by 60 and fill in the information below.

         Name of the creditor                                       Identify property that                                   Total cure                            Monthly cure
                                                                    secures the debt                                         amount                                amount
                                                                                                                                                        ÷ 60 =
                                                                                                                                                        ÷ 60 =
                                                                                                                                                        ÷ 60 =              +
                                                                                                                                   Copy total              Total                 $0.00                       $0.00
                                                                                                                                   here →
 35.   Do you owe any priority claims—such as a priority tax, child support, or alimony—that are past due as of the filing date of your
       bankruptcy case? 11 U.S.C. § 507.

       ❑No. Go to line 36.
       ✔Yes. Fill in the total amount of all of these priority claims. Do not include current or ongoing priority claims, such as those you
       ❑
                   listed in line 19.

                    Total amount of all past-due priority claims..................................................................                                      $4,234.00               ÷ 60        $70.57


 36.   Projected monthly Chapter 13 plan payment                                                                                                                        $0.00

            Current multiplier for your district as stated on the list issued by the Administrative Office of the United
            States Courts (for districts in Alabama and North Carolina) or by the Executive Office for United States
            Trustees (for all other districts).
            To find a list of district multipliers that includes your district, go online using the link specified in the
            separate instructions for this form. This list may also be available at the bankruptcy clerk’s office.                                                 X            8.70 %


                                                                                                                                                                                            Copy
                                                                                                                                                                            $0.00           total
            Average monthly administrative expense
                                                                                                                                                                                            here →           $0.00


 37.   Add all of the deductions for debt payment. Add lines 33e through 36.                                                                                                                               $3,896.67



Total Deductions from Income


 38.   Add all of the allowed deductions.

       Copy line 24, All of the expenses allowed under IRS expense allowances ....................................                                                              $4,340.98


       Copy line 32, All of the additional expense deductions....................................................................                                               $1,462.69


       Copy line 37, All of the deductions for debt payment.......................................................................                                      +       $3,896.67
                                                                                                                                                                                 Copy
                                                                                                                                                                 $9,700.34       total                     $9,700.34
       Total deductions..............................................................................................................................                            here →




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                          First Name                  Middle Name                    Last Name


Part 2: Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)


39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13 Statement of
    Your Current Monthly Income and Calculation of Commitment Period.                                                               ................................................................   $12,796.54


40. Fill in any reasonably necessary income you receive for support for dependent children. The                                                  $2,000.00
    monthly average of any child support payments, foster care payments, or disability payments for a
    dependent child, reported in Part I of Form 122C-1, that you received in accordance with applicable
    nonbankruptcy law to the extent reasonably necessary to be expended for such child.

41. Fill in all qualified retirement deductions. The monthly total of all amounts that your employer withheld                                    $1,016.35
    from wages as contributions for qualified retirement plans, as specified in 11 U.S.C. § 541(b)(7) plus
    all required repayments of loans from retirement plans, as specified in 11 U.S.C. § 362(b)(19).

42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here .... →                                                     $9,700.34


43. Deduction for special circumstances. If special circumstances justify additional expenses and you
    have no reasonable alternative, describe the special circumstances and their expenses. You must give
    your case trustee a detailed explanation of the special circumstances and documentation for the
    expenses.

          Describe the special circumstances                                      Amount of expense




                                                                                        +

                                                                                                     $0.00      Copy here
                                                                   Total                                        →                   +               $0.00


44. Total adjustments. Add lines 40 through 43........................................................................                        $12,716.69                     Copy here → –               $12,716.69




45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                                                                                               $79.85



Part 3: Change in Income or Expenses


46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form have changed or
    are virtually certain to change after the date you filed your bankruptcy petition and during the time your case will be open, fill
    in the information below. For example, if the wages reported increased after you filed your petition, check 122C-1 in the first
    column, enter line 2 in the second column, explain why the wages increased, fill in when the increase occurred, and fill in
    the amount of the increase.

   Form               Line            Reason for change                                                                     Date of change             Increase or                    Amount of change
                                                                                                                                                       decrease?
  ❑ 122C-1                                                                                                                                            ❑ Increase
  ❑ 122C-2                                                                                                                                            ❑ Decrease
  ❑ 122C-1                                                                                                                                            ❑ Increase
  ❑ 122C-2                                                                                                                                            ❑ Decrease




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Part 4: Sign Below



    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.


       ✘ /s/ Stacy Lynn Phillips
            Signature of Debtor 1

            Date 01/21/2021
                   MM/ DD/ YYYY




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                                                     IN THE UNITED STATES BANKRUPTCY COURT
                                                           EASTERN DISTRICT OF VIRGINIA
                                                                ALEXANDRIA DIVISION

IN RE: Phillips, Stacy Lynn                                                                  CASE NO

                                                                                             CHAPTER 13




                                                      VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date       01/21/2021              Signature                                   /s/ Stacy Lynn Phillips
                                                                              Stacy Lynn Phillips, Debtor
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                               ADT Security Corporation
                               1501 Yamato Rd.
                               Boca Raton, FL 33431-0000




                               American Water Resources,
                               LLC
                               1 Water St.
                               Camden, NJ 08102



                               Amex
                               Correspondence/Bankruptcy
                               PO Box 981540
                               El Paso, TX 79998-1540



                               Apple Fcu
                               Attn: Bankruptcy Dept 4097 Monument
                               Corner Drive
                               Fairfax, VA 22030



                               Capital One
                               PO Box 71083
                               Charlotte, NC 28272-0000




                               Circuit Court for Pinellas Co.
                               315 Court Street
                               Clearwater, FL 33756




                               Citibank
                               Citicorp Credit Srvs/Centralized Bk dept
                               PO Box 790034
                               St Louis, MO 63179



                               Discover Financial
                               PO Box 3025
                               New Albany, OH 43054-0000
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                               Joe Egan
                               5267 Quebec Place
                               Woodbridge, VA 22193




                               Fed Loan Servicing
                               PO Box 60610
                               Harrisburg, PA 17106-0000




                               Freedom Mortgage
                               Corporation
                               Attn: Bankruptcy
                               907 Pleasant Valley Ave Ste 3
                               Mount Laurel, NJ 08054


                               Freedom Plus
                               Attn: Bankruptcy
                               PO Box 2340
                               Phoenix, AZ 85002-2340



                               Pattie K. Haselman
                               5 Lightmont Dr.
                               Fredericksburg, VA 22406




                               Konstantin and Fotini
                               Bakkalapulo
                               1651 Sand Key Estates Blvd. #51
                               Tampa, FL 33615



                               Prince William County Circuit
                               9311 Lee Avenue
                               Manassas, VA 20110-0000




                               Service Finance Company
                               Attn: Bankruptcy 555 S Federal Highway
                               Boca Raton, FL 33432
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                               Svo Portfolio Services
                               Attn: Loan Servicing Administration 9002
                               San March Court
                               Orlando, FL 32819



                               Syncb/walmart
                               Po Box 30281
                               Salt Lake City, UT 84130




                               Synchrony Bank/Amazon
                               Attn: Bankruptcy
                               PO Box 965060
                               Orlando, FL 32896-5060



                               Synchrony/Ashley Furniture
                               Homestore
                               Attn: Bankruptcy
                               PO Box 965060
                               Orlando, FL 32896-5060


                               Wells Fargo Dealer Services
                               Attn: Bankruptcy
                               1100 Corporate Center Drive
                               Raleigh, NC 27607



                               World Gym
                               Forestdale Plaza
                               4176 Dale Boulevard Suite 2225
                               Woodbridge, VA 22193



                               XSport Fitness
                               13989 Noblewood Plaza
                               Woodbridge, VA 22193
